- l m ' CaS€SZlQ-bk-OlQGB-CP|\/| DOCJ_ FiledOS/OS/J_Q Page l§f€'lit}_l

 

 

 

d l`.:|| lai i…-\ \rl"-."" \' ‘.\:l in irl»'»rl!lf_,/ iii=' = .l‘\i"
F|LED V|A MA|L
n MAR 08 2019
` Case number ur , Chapter15 § n Checkifthisis an
' " ; Cierk, U.S. Bankruptcy Court amende filing
Midd|e Districl of Fiorida
Tampa Division

Officiai Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding 1215

lt more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor's name and case number (ill lmovvn).

 

 

1. Debtor’s name BERTRAM ANDREWS-POWLEY, l||

 

2. Debtor's unique identifier For non-individual debtors:
i:l Federa| Employer identification Number (E|N) -

i:l Other . Describe identitier

For individuat debtors: §
El Social Secur'rty number: xxx - xx-

M |ndlv|dua| Taxpayer |dentitication number (lT|N): 9xx - Xx - 8 2 7 1

 

Ei other . prescribe identif»er

 

 

s. Name of foreign _ _
representative(s) :ra-nu-ra-khutl-amen: of the famciy bey

 

4 Foreign proceeding in which
appointment of the foreign 12-CA-012894
representative(s) occurred

 

5. Nature of the foreign

p ling Check one.'

d Foreign main proceeding

 

 

 

 

cl Foreign nonmain proceeding
n Foreign main proceeding or in the alternative foreign nonmain proceeding
t Evidencl_! Of the foreign g A certiiied copy, translated into Eng|ish, of the decision commencing the foreign proceeding and
proceeding appointing the foreign representative is attached
m A certiiicate, translated into English, from the foreign court, affirming the existence of the foreign
proceeding and of the appointment of the foreign representative is attached
a Other evidence of the existence of the foreign proceeding and of the appointment of the foreig\
representative is described below, and relevant documentation, translated into Eng|ish, is atwched.
P|ease see exhibits l attachments marked PFR 1 - 10
7- '5 this the only foreign m No. (At'tach a statement identifying each country in which a foreign proceeding by, regardingl or against the
proceeding with respect to debtor is pending.)
the debtor known to the n Yes
foreign replesentative(s)?

 

Otlicia| Form 401 Chapter 15 Petiiion for Reoognition of a Foreign Prnceeding page 1

ease 8:19-bi<-01965-CPl\/l Doc 1 Filed 03/03/19 Page 20f_64 ` r" -

 

@'1.7~ t

' ' ' ' Case 8:19-bk-01965-CPI\/| Docl Filed 03/08/19 PageSof 64

Debtor

 

BERTRAN| ANDREWS~POWLEY, |ll
m

Case number ir mt

 

s. Others entitled to notice

Attach a list containing the names and addresses ot:

(i) all persons or bodies authorized to administer foreign proceedings of the debtor,
(ii) ai| parties to litigation pending in the Uni'ted States in which the debtor is a party at the time of iiling of this

petition, and

(iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.

 

s. Addresses

10. Debtor’s webaite (URL)

11. Type of debtor

Country where the debtor has the center of its
main interests:

Al Maghreb al AgY l USA incorporated

 

lndividual debtor’s habitual residence:

 

 

 

 

Debtor’s registered office:

Number Street

P.O. Box

C`rty StateIvaincei'Regiori Z|Pi'Postal Code
Coi.intry

Address of foreign representative(s):

 

 

 

 

 

 

1706 Marvy Avenue clc ~1706 marvy avenue

Number Street Number Street

P.O. Box P.O. Box

Tampa, F|orida 33612 ~tampa-territory, ~f|orida 33612
City StateIPwvinee/Region ZlP.fPosta| Code City Statemevince!Reg'ion ZlPlPosta| Code

UN|TED STATES AMER|CA |NC.
{.`»ounliyl

nla

Al Magmeb al Agsa, Amexem
Country

 

Check one:

Cl iven-individual (check one):

n Corporation. Attach a corporate ownership statement containing the information

described in Fed_ R. Baf'lkr. P. 7007.1.
cl Partnership
El Other. Speci'fy:

 

91 lndividuai_

 

Oflicial Form 401

Chapter 15 Petition for Recognition of a Foreign Proceeding

pace 2

Case 8:19-bk-01965-CPI\/| Doc 1 Filed 03/08/19 Page 4 of 64

` '>
‘\‘
§`)
\

§
(;\.
rt

§

 

)
Case 8:19-bl<-01965-CPl\/| Doc 1 Filed 03/08/19 Page 5 of 64 gag/jj

i

nom BERTRAM ANDREWS-POWL§XL||F case number ama
I'Hi\l

iz. Why is venue proper in this Gheck ono:
di‘M'-"`t? m Debtor's principal place of business or principal assets in the United States are in this district

ij Debtor does not have a piece of business or assets in the United States, but the foiicwing
action or proceeding in a federal or stale counts pending against the debtor in this district:

 

Ci it neither box is ohaoited, venue is consistent with the interests ot justice and the convenience
of the parties, having regard to the relief sought by the foreign rapreaenvtive, because:

 

ia. Signature of foreign

repm‘emuve{s} l request relief in accordance with chapter 15 of title 11, United States Code.

l am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
relief sought in this petition‘ and l am authorized to file this petition

l have examined the information in this petition and have a reasonable belief that the
information is true and correct

i declare under penalty of perjury that the foregoing is true and coirect,

x '- ff/‘-'“i/Zi/\ 'f&' wei/t iri ‘ Q JW’~"'? l- Swira-nu-ra-khuti-amen: of the family bey

Signature of foreign representative \i’rinted name

Exeouted on 03/05!2019
m

X*,ULLL m- lynch @mw i/B»L.‘ r/‘ mo /o¢(d,.¢,.i_,` .c,»w lo%
Signature cf foreign representative Jpnmed name

MM IDDIYYYY

Execuied on

tt.signawreofatwmev X'.fC\-~mot-r‘@\»ld/)u}t-Gr-»€Vi'-/ re ©§ ioSiZOi¢`j

 

Signaiure of Aitorney for foreign representative MM l DD IYYY¥
me not me Ll/r.n%,- -Otwt,i,//; bid/t
Printed name
t t. s °t_'
Finn name

~i'Ti-Oie /‘/tG-r l/b\ BU{MM

 

 

 

 

inlet Ms:e: E&rrti'r)/o\ "“ Shwl€@` C:)gé"(?' gp?g`z
C|ty y ZlPCode
CSCS) 193'-5€94 :M‘rrlce,ot@&/Mll COW
Contact phone Emaii addrst
r\>//s
Barnum£er Siate

 

 

Official Form 401 Chapter 15 Petiticn for Recognition cf a Foreign Proceeding page 3

Case 8:19-bk-01965-CPI\/| Doc 1 Filed 03/08/19 Page 6 of 64

`-§`
§§
i
§
.§
\
33

 

311 \

‘_ -?F`Z `MMO@€t-bpl\/| Docl Filed 03/08/19 Page70f64

 

QIRSDEPARTMENT OF THE TREASU`RY
INTERNAL REVENUE SERVICE
CINCINNATI OH 45999-0023

Date of this notice: 09-07-2017

Em lo er Identification Number:
‘liili5563

 

Form: SS-4

Number of this notice: CP 575 B
DOUBLE LION UCHET EXPRESS TR
RA-NU_RA~KHUTI"AMEN BEY TTEE
1706 MARVY AVE For assistance you may call us at:
TAMPA, FL 33612 1-800-329-4933

IF YOU WRITE, ATTACH THE
STUB AT THE END OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLGYER IDENTIFICATION NUMBER

you for applying for an Employer ldentification Number (EIN). We assigned you
EIN 563. This ElN will identify your estate or trust. If you are not the
applicant, please contact the individual who is handling the estate or trust for you.
Please keep this notice in your permanent records.

when filing tax documents, payments, and related correspondence, it is very important

that you use your EIN and complete name and address exactly as shown above. Any variation

may cause a delay in processing, result in incorrect information in your account, or even
i cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

Based on the information received from you or your representative, you must file
the following form(s) by the date(S) shown.

Form 1041 09/07/2017

After our review of your information, we have determined that you have not filed
tax returns for the above-mentioned tax period(S) dating as far back as 2016. Please
file your rcturn(S) by 09/22/2017. If there is a balance due on the return(s},
penalties and interest will continue to accumulate from the due date of the return(s)
until it is filed and paid. If you were not in business or did not hire any employees
for the tax period(s) in question, please file the return(s} showing you have no
liabilities.

If you have questions about the form(s) or the due date(S) Shown, you can Call us at
the phone number or write to us at the address shown at the top of this notice. If you
5 need help in determining your annual accounting period (tax year), see Publication 538,
j Accounting'Fcriods and Mcthods.

We assigned you a tax classification based on information obtained from you or your
representativc. It is not a legal determination of your tax classification, and is not
binding on the IRS. If you want a legal determination of your tax classification, you may
request a private letter ruling from the IRS under the guidelines in Revenue Procedure
2004-1, 2004-l I.R.B. l for superseding Revenue Procedure for the year at issue). Note:
Certain tax classification elections can he requested by filing Form 8832, Entity
Cjassification Election. See Form 8832 and its instructions for additional information.

To obtain tax forms and publications, including those referenced in this notice,
visit our Web Site at www.irs.gov. If you do not have access to the Internet, call
1-800-829~3676 (TTY/TDD 1-800-829-4059) or visit your local IRS offics.

I__"

\ q n
Case 8:19-bk-01965-CPI\/| Doc 1 Filed 03/08/19 Pagé 8 of 6'4

r=. F295_-

 

 

 

 

. 321

. m misbz\.+a- l(k-T&S- CPl\/l Doc 1 Flled 93/08/19 Pag§ng"of 64Y

STATE OF FLUR[DA UNIFORM COMMERCI:"L COI:'B FILED

FINANCINGST 'IEMEN'} FORM

im¢n._m_¢mh%?;‘ mm ‘ 2017 oct 20 AM 08;00

_§W___M_m-;@E;Mam **** 201703020543 ****

:l;?::_-¢\M-mrhy m "‘C ' 10201786378401-182.®"*182.00"°

mdu~lmlh'¢yhvm

Adb:l

Mw~mlm

 

 

 

 

mAmEAqBF¢J-FRINGOFFICIMUNLY

 

 

 

 

 

 

l. om$mcl'm.l.l.m\l.m~NSElTULYONI-DEBTORNM(I¢GIIB)~D¢N¢.'“ ' ..Sdin¢l¥lnn
l.a ORGAHEM'DN`SNAHE '
BERTRAM AHDREWS»H)WLE¥ lll `
l.h MV|DUAL'SMNAM£ F|ISI*FRSDNALNAME |ADDIT!ONALNAME¢S)I|N¥HAL(S) iSUFFD(

' ' ' ""“ =!EWM'£B¢a-¢ ' ' 7 "

. ' his queth

I'NGMA.RVY AVENU'E --"-4
mmc.h¢m Cl'n' SI'A`I'B RIBTALGJBF. OD|MR.Y
TAMPA l-`I.. 33612 USA

 

 

 

 

 

 

 

T A FL 33612 USA

3. SICUREI)!'A|¥W*$NANI Mor'ltmu.mmofnssmncnl -om'romxorll.mmmrmn ann
34 mamm'sm
DOUBLB LlCN UCHET EXPR.ESS TRUSI‘

S.b DIDIVI[IJAI.'SSURNAMI FlRSTFEIlSONALNAME lADDlTK)NALNAME(SyMTlM(S) | SUFFD(

3.: mm ADDRES$ line mm _

cio [-zmmqg_nvm] “"'"’“"""'*'**
\IAII.IHG MI|IBS Lbe'l\n CITY SfA`I'E

[~Tm:rmimq,.sma._m=pubu¢] rr

 

 

 

 

 

marcone army
33612-sms gmm-:n
s'rA'rss]

 

 

 

 

 

 

 

4. ms FINANCING SI'ATEBIENT oovl:s the following collateral:
n caused security in amormgiscmd lam sue ofN¢w York mm me No. )cxxaa l name N\mber
m l Regis¢ration Nmb¢r xxsl marine nfvalid non mmr/sin anadingl Reoeipe). with me sA'rE ofs-
28-74 TmstlSecmicyroeordod&registemduponbookActive Trus\

2]Dob¢m(s) is a Transmitcdlg Utiiity l Tnmsfc: Ag¢mt of a Sccm'ity (Aaiv¢ Trnst) m Tnstee(s) Securities
b\tmmdimy(s), forminuiniogasecuritiawomm£ forwlmmihcaowumismainhimdmd hcidioTnmforthc
bm&t of Entnlemmt Holder-- Seeured Pnrty

 

 

3)Eotit]ununlistcdwithrespecttoapmcularI-”mancia]Asso¢sandinwesttheminheldinTmst,bmishe(s)
Secmiii¢s hmmediary(s),andl£ntitlemcml~loldcrismtsubjeclwanyclaims,pmtwwd\md¢ropcmtionoflaw
pursuantu:rUCC-Artidcs. 'I'hisactmkcscflbct IG/ l3Q017butinade(NmumTmc),SOORDEREDALL
PROPERTY lN 'I'HE IN'I`EREST DF THE DEBTOR IS NOW AND FOREVER UNDER THE COMI’LETE
CONTROLOP'[°HESeu.lmdPaIty.

 

 

S.A£mNATED£SIGNA'|'IDNHqu-bk) Hm mm - - am
MFBJNO _E_ m

iMmmTMYHmTM-Mmmmmmm¥mm
[:| Alldoanmqm¢»mpmbl¢qmbma»mppu=mmizomz Fshwmwn

'HmihbouumysnumTokomqund

1. DmmALI'lLERmmNCEDATA
nmm-mllCC-lmm HQGIIH¢CM Wd$¢mdlhh,mlfm

=fa»»nuc- Fa- LMu.l»£ man : ben
unanimousme

wilman
NMWI~III|HI\hP¢-phm
umw l.lf.£. lMll-RULC.I-IB

 

 

 

§
'WZ MtO(Q§-?PM Doc 1 Filed 03/08/19 Page 10 of 64 ‘qu` l

 

 

 

 

 

mm 56 Notice Conceming Fiduciary Reiationship

[Rev. December 2015) _ _ OMB Nt>_ 1545_0013
mofmmmm >hdumhmahomFomSSmtdiwseparaiehsmmbmtslsatwwszgov/fmn§$.

internal Rewenue Sewice (Inlemd Flevenue Code sections 6036 and 6903]

ldent`rtication

Nameofpersonforwhomywareacting{asshowhontbeiaxretmn) ldeniifyingnmnber Decedeni’ssnclalseo\r¥!yno.
BERTRAM ANDREW$-POWLEY, lll 34883 5894432?`|

address ofpersonforwhomyou are actingfmmber, street androomorsuire no.)

~’| 705 MARVY AVENUE

 

C'rty or town, state, and Z|P code [lf a foreign address see 'tnstrut:tions.)

-TAMPA-TERR[YOR¥, -FLOR!DA~REPUBLIC ~33512
Frduciary's name

:ra-nu»ra-l<huti~amen: of the family t',~ta'\rl Manging Member. Heir {Benef`tciarv} of the Doub|e Uche¢ Express Lodial Trust
Mdreos of l'»duciary [number, street and room or suite no.)

 

 

 

 

 

~1?05 Marvy avenue //'!/?~
city or wwn. state and sz code ’ lp rateman mar toptionan
»Tampa~Territoq‘ -Florida-Repubtic ‘?§%P ( 813 ) 293-st 94
S°°"°" A' A"“`°"" h "?rt¢'€<z§`fz;,i
1 Authm'ty for nductary relationship check applicable ' 3 '3,'. ,<~»¢@${U@
a [] court appoinunem or restate estate ward wm axis / O,¢ 50 5 u`,/.'$>.<Sl<;?
h [_] court appointment or intestate estate (no valid wm exi§l`zyo O` 119 552ch IF'C»
c [:] Court appointment as guardian or conservator ];g tila €§’/) 6` 8
d [] Valid trust instrument and amendments FO§<IE,)_
e 1:| Bankruptcy or assignmem for the benefit or creditors ‘j/;_`p)"¢/C}‘Q'F
f O¥her. Describe > Citizenshi;>Expatrr'ation-Act pg. 439 ch. 4 Temporary damrocco; deceptive private law, form ss-S _____
2a rr box 1a or 1b is checked enter me date or death > gg_r_tg=_ 22_ 333'_1_ ’7$""
b tr box ic-1f is checked enter the date or appointment taking of§ce, or assign transfer of assets >___hfl§j§_th_,_ _1_§_6_§____

COuD-D-Etaf of the Uniled States Of Amel'ica Republic: F§~._ll. 21 1871 Act of Conqress 'Brand Syslem lmgiementation': H.R. 75 etcetera.
Section B. Nature of Liabihty and Tax Notices

3 Type oftaxes(check allthetapply}: income Gift Estate Generation-skipping h'ansfer Empioyment
E'] EXCiSe Other (dw>ribe) b Pursuant True 31 u_s_c_ section 321; subchapter lt man 5 chapter s; ntle 18 tho‘ et¢.

 

4 Federa! tax form number (check alithat apply): af:[ 706 series bl:] 709 cl:| 940 d]:] 941, 943, 944
am 1040. TO‘W‘A, Of 1949'€7- f I:] 1041 g[___} 1120 h. OU'|B|' “iSt) " Non Domestic: Noi subject to the United States.__

5 |fyourauthor'rtyas afidtmiarydoesnotccver allyears ortax periods checkhere . . . . . . . . . . . . . >
and frst the specinc years or periods b Urrra trrres Contracr or Civt! Liter Mortus since 06!22!1971 and by IRS form ss»$, et_.- ar.

6 lfthehductaryhas aCAF numberandwantsacopyofnot'rcesand correspondence {seeiheinstructbns) ched<thisbox . > []
and enter the year(s) or period{s) for the corresponding line 4 item checked if more than one form entered on line 4h, enter the

form number.

Complete only if the line 6 box is checked

 

 

 

 

 

 

ig ;};:;:':<Y- E’“e' Yea’[$) °’ Pe’i°d{$) ig RECT;Q. Enfer year{S) or period{s)
4a 4b
4° 4a
49 4r
49 41'\:
Te 4,,:

 

 

 

 

 

 

 

For Papa~rwork Reduc'don Aci and Pr'rvacy Ar.'t Notic¢, see separoie instructions C.at. No.16375| Fom 55 [Rev. 12~2015}

Case 8:19-bk-01965-CPI\/| Docl Filed 03/0`8/19 Page 11 of 64

 

FYE LMM&<'O£;C)JM Doc 1 Filed 03/08/19 Page 12 of 64

§ ?.’."71'\

Fprm ss ¢nev 12-2015; Paga 2

Revocation or Termlnation of Noh’ce

Seclion A-Tota| Revocation or Tennination
7 Check this box if you are revoking or terminating all prior notices concerning fiduciary relationships on file with the internal
Revenue Service for the same tax matters and years or periods covered by this notice concerning fiduciary relationship b
Reason for termination of fiduciary relationship Check applicable box:
a I_`_] Court order revoking fiduciary authority
b 1:1 Certificate of dissolution or termination of a business entity
c Other. Describe > eeliigerem rmsiees.hip, conversion and men or mist by PAT FRANK, uNrrEo sTATi-:S ana ei.. ai_

 

Section B-Partial Revooation
8a Check this box °rf you are revoking earlier notices concerning fiduciary relationships on file with the internal Revenue Service
for the same tax matters and years or periods covered by this notice concerning fiduciary reiationship . . . _ _ . b []
b Specify to whom granted, daie, and address including ZlP code_
, _

 

 

Section C-~Subst'rtute Fiduoiary
9 Check this box if a new fiduciary or fiduciaries have been or will be substituted for the revoking or terminating nduciary and
specify the name(s) and address{es), including ZlP code(s) of the new fiduciaryfles) . . . . . . . . . . . >
> :ra-nu-ra-khuti amen: of the family bey _~_1_?06_ _M_arvy avenue, -Tampa~Terrltor-y -Fiorida-Repubiic ~33612 _

 

 

Court and Administrative Proceedings

 

 

Nomeofcnurt(rfotherthanaccimproceeding,identifythetypeolproceedingandnarneolagency) Dateprcceedinginitialed
thirteenth Judicial Circult Hlllsbormlg'i_€ounly Col.lrthouse December 2015
Address of court Dockel number of proceeding

800 £. Twigg§ Street, Room 512 Divlsion: J 12-CA~012894

 

 

D'ate Tirne am_ Piaoeoio\her proceedings
10;00 i:i Pm Federarcrairps conn

Ciiy or tomn. siale, and Z\P code
Tampa_llwida 33602 09!201201`!

sir-m

 

 

 

 

 

 

 

 

lcertifytnatlhavelheauthoritytooxeci.ltelnisnoticeconcerningfiducim'yl'eiafionshiponbehalfofthetmcpayer.
Please
Sign 1 _ ,
Hefe )‘,!rp\-/\UL- fay if.i"\u"i__t * O\_MC!"|» b Ll/} Honorable Sf.p i`€,iM}oU` l€¢ 10 l:i-
Frduciary’s signature nile_ ii applicable Daré
FM(RM. 12~2015)

 

m\-r ,,_

Case 8:19-bl<-01965-CPl\/| Docl Filed 03/08/19 'Page‘13 of 64 l

 

\$“
(`_:

~\§"

. l PFR Msb§gbkél‘$S-CPM Docl Filed 03/08/19 Page 14 of 6$7¢7/7€/

 

Moorish Americans
Aboriginal Natural Peoples of the Land - North America / Northwest Amexem

Affidavit of Fact
REVOCAT!ON OF POWER OF ATTORNEY

I, :ra-nu-ra-khuti~amen: of the family bey, Authon'zed Representative of BERTRAM
ANDREWS-POWLEY,III©, do hereby revoke the Powcr of Attorney dated August 15‘1‘, 2012
and recorded in security agreement of the records of claim origin at the Hillsborough County
Clcrk of Cou.rt lZ~CA-012894 and subsequent records of joinder at the 2”d Dr`strict Court of
Appeals 2»Dl6-221; the Middlc District Court ~Tampa, CLERK OF THE COURT 8116 - mc »-
00139 - SDM _ TGW and 8: 16 - mc - 00140 - EAK- AEP; and UNITED STATES COURT
OF FEDERAL CLAIMS CLERK OF THE COURT 17-617€; that was granted by means of an
Ultra - Vircs Intemational Contract of dispute to PAT FRANK, MARY ELIZABETH
KUENZEL, ELIZABETH MARY WARREN, ELIZABETH G RICE, REX BARBAS, CHRIS
W. ALTENDREND, ANTHONY K. BLACK, MATTHEW C. LUCAS, STEVEN D.
MERRYDAY, THOMAS M. WILSON, ELlZABETH A. KOVACHEVICH, SHERIFF DAVID
GEE, BOB BUCK_HORN, SUSAN G. BRADEN et ai, and Withdraw every power and authority
conferred therein

This instrument shall serve as notice to REX BARBAS and PAT FRANK and all parties of
interest of ramification.

Thisdareo<,)/ls/zolr ‘./CL-nv~/Q- hhc-ij . /o)r»\c)'i_ é£b)
(Principal Owncr/ Secured Party Creditor)

W All Rights Rescrvcd UCC 1-207/1-103

(Signatdre of Witness)

MUABOF%

{Signature of Witness)'/

 

STATE OF ~FLOR|DA- REPUBL|C

Near COUNTY OF HILLSBOROUGH

The fore ` g instrument was acknowledged before me this _LZ__ day of September,
2017,1:)ngQ_ girlfle \»<lr\u-\€ AM€I\ "B~L~l ,Authorized Representative
who has produced a Moorish Nationa| |dent`rfication`Card, F|orida ldentiiicatlon Card,
Social Security Card, and a Common Law Copyright for the Principal as identification

d who solemnly conlirms as truth.
@LA) . , cynthia cHlPP
h -‘ . =. in cchlss\oN l FF 053159

\\ (Notary Public) W §VS' ExP\nEs;Noremberr.zon (Sea|)

\.~‘ Bunded Thru thary Pudlr:, Underwritsrs

 

 

 

 

 

Pagc l of l

 

‘»'*-" "t ‘ii'~*~'¥'

'+" ' " l, `.'_' ‘
Case 8:19-bk-01965-CPI\/| Doc 1 Filed 03/08/1`9 Page 15 of 64

 

 

PFR w.eS[€B"H-bl<@¢e)cF>I\/l Doc 1 Filed 03/08/19 Page 16 01 613 3 jt l

BEERTRAM ANDREWS-POWLEY, |ll (DEBTOR lN POSSES|ON)

UN|TED STATES D|STR|CT COURT
MlDDLE D|STR|CE OF FLORlDA
OFF|CE OF THE CLERK

RE: Attachment to application - form 401

Per number 7 (case number 18-CA-001951 of which BERTRAM ANDREWS-POWLEY,||| is co-
party... 13th judicial civil circuit) this case is located within the jurisdiction of the United States;
And answers to number 8 of form 401 are as follows:

(i) Regina L. Watson, trustee for Doub|e Lion Uchet Express Trust, 6013 Portsda|e P|ace
#101 Riverview, F|orida {33578-9998]

(ii) De|ma Andrews-Pow|ey, co-defendant to BERTRAN\ ANDREWS-POWLE¥,||| in the case
sited above

(iii) OCWEN LOAN SERV|C|NG, LLC, PO BOX 24738 WEST PALM BEACH, FLORlDA 33416-4738

February 19, 2019

Non - Resident - Non - Domestic - Non - Subject

ln Honor: EFO\-' VL//c~ FD» -le/;(A;i-i' - Otwt£,;/l ,l ]OQ,{A
:ra-nu-ra-khuti-amen/:bey,
Authorized Representative
Natural Person, ln Propria Persona: |n So|o Proprio, Sue Juris,
Sue I-ieredes, Ex Relatione
(BERTRAM ANDREWS-POWLEY,|||,
DOUBLE LION UCHET EXPRESS TRUST ET-AL}
A|| Rights Reserved:U.C.C.l-207/ 1-308; U.C.C. 1~103
c/o"'1706 Marvy avenue “’Tampa- Territory, "'F|orida- Repub|ic
["33612-9998] Non Domestic

m
l

ease 8:19-bi<-01965-CPl\/i Doc 1 Filed 03/03/1-9» 'Page 17.0i64 7 y

 

 

 

 

. PF°P- "-`¥"°"t (;QQ§,:§s-/bi<-moes-CPM Doc1 Fiied@o€aiozino Page1soie4

 

THE MOOR_ISH NATIONAL REPUBL|C

THE MOORISH DlVlNE AND NATlONAL MOVEMENT OF THE WORLD

Abr)r.r'ginal and indigenous Na.fnral Per)ples ofNor.th -Wes.r Amexem Nor!h America

HOLD HARMLESS AND INDEMNITY AGREEMENT NON-NEGOTLABLE

BETWEEN THE PARTIES
FlLE FOR RECORD - THIS IS INTERNATIONAL NOTICE

This non-negotiable and non-transferable HOLD HAR.MLESS AND INDEMNITY AGR_EEMENT is
made and entered into this day October , 2017, by and between BERTRAM ANDREWS-
PowLEY,itl©, hereinafter “DEBTOR", organization Nrnnber -271, .iz'ii, -szri, and
ra-nu-ra-khuti-a.men;bey, hereinafter "Sectn‘ed Party Creditor”, a Moor ." Ipso lure as Moorish»SubjectS
Citizensh.ip Expatriation Act page 439 Chapter 4 Tempurary vaisions Morocco. ”Ihe parties, hereinafter
"Parties”, are identified as follows:

DEBTOR

BERTRAM ANDREWS-PUWLEY,III© A LEGAL EN'[`I'I'Y r' TRANSM[TI'[NG UTII..ITY (and all
derivatives thereon

~1706 Marvy Avenue

~Tampa-Territory, ~Florida-Repnblic [33612-99981

organization Nnrnbrr(si: _szrl.-s;).r -szri

Secured Party Creditur

:ra-nu-ra-lthuti-amen:bey, a Moor American National, Original, lndigenons, Natnral lnhabitant, Living
thnan-Being. In Propria Persona, Su.i Jun's, ln Solo Proprio

do ~1'106 Marvy Avenue

~Tampa-Territory, ~Florida-Republic [3 3612-9998]

Non-Dorriestic with the voidance of the United States of Anterica

Exempt Front Levy

DEBTOR’s Treasury Direct Accotn\t Number:‘Z'll

I. This HOLD HARMLESS and Indemnity Agreeinent is mutually agreed upon and permanently
entered into on this day of the Month ofOctober, in the year on`HWH two
thousand w seventeen, between the juristic person, BERTRAM ANDREWS'POWLEY,[H©
(AND ALL DERIVATIONS OF SUCH), and :ra-nu-ra-lchtiti-anien: bey (including all lawful
derivations of such), who is a live, flesh -and-blood nian.

Il. For binding verificatiou, DEBTOR hereby expressly agrees and covenants, without benefit of
discussion, with the voidance of division, holding said Creditor ham\less, causing
indenmiiication of Creditor from and against1 but not limited to any and al|: claims or legal
actions, orders, warrants,judgments, demands, liabilities, losses, depositions, summons(es),
lawsuits, costs, line.s, liens, levies_ penalties damages interest, and expenses whatsoever,
both absolute and contingent, as are due or may become due arising hereinafter now and
forevermore. :ra-nu-ra-khnti-an:ten: bey, Creditorr Aiticulates by covenant and agreement that
creditor shall not under any circumstances be considered an accommodating entity nor surety
for DEBTOR." BERTRAM ANDREWS-POWLEY,IH©.

Wgrds Delioctl Glg§§ag ol' Ternis: I_n witnessing by hand this “HOLD HARMLESS AND lNDEMNlTY
AGREEMENT” the foregoing words and terminology utilized herein are non-obstinate

l. A]mellat_iun: HOLD HARMLESS A.ND INDEMNITY AGR_EEMENT DOCUMENT lN HAND
SHOWS: “A general term introduces and specifies a particular term used in addressing greeting,
calling out for, and making appeals of a particular living breathing flesh and blood man"

2. Cond\lit: HOLD HARMLESS AND ]'N'DEMNETY AGREEMENT DOCUMENT l'N H.AND
SHOWS: "Conduit signifies means of transmitting and distributing energy and affects the
production of labor, goods. or services by way of DEBTOR, EERTRAM ANDREWS-

PO WLEY,HI©, including but not limited to, any and all variations and derivatives of DEBTOR
except 2ra-nu“ra-khuti-atl\€n:bey.

3. £§reditor: HOLD HARMLESS AND l'N'DEMNiTY AGREEMENT DOCUMENT l'N HAND
SHOWS: "Means :ra-nu-ra-khuti-amen:bey, as Creditor and Bailor.

Page l ol` 2

ease 8:19-bi<-01965-CPi\/i` Doc 1 ' li=ilecl- 03/03/~1`§ Page 19 of 64

 

 

 

 

 

 

l
i
t
n

 

 

 

 

 

 

'PF lt

9*"!,¥1'{6*16$@01965-@|\/| Doc 1 i=ile&i daiob/w Page 20 oi 64

§geured party §regitor: HOLD HARMLESS AND INDEMN|TY AGREEMENT
DOCUMENT IN HAND SHOWS: “Means :ra-nu-ra-khuti-amen;bey, and all variations ol` that
appellation".

DEBTOR: HOLD HARMLESS AND lNDEM'NITY AGREEMENT DOCUMENT IN HAND
SHOWS: BERTRAM ANDREWS-POWLEY,III© means including, but not limited to, any and
all variations and derivatives in spellng ofsaid name except ira-nu-ra-lrhuti-amen:bey. and all
variations ol`lhe appellatiorl,

Del'ivative: HOLD H.ARMLESS AND lNDEMNlTY AGREEMENT DOCUMENT lN HAND
SHOWS: “Coming l`rorrt another; taken from something preceding secondary; that which has nol
the origin in itse|f, but obtains existence from something foregoing and a fundamental nattrre;
anything derived from another."

Ens leg'§; HOLD HARMLESS AND lNDENlTY AGREEM.ENT DOCUME.NT lN HAND
SHOWS: “A creature ofthe law; nn artificial being, as contrasted with a natural man, such as a
corporation considered as deriving its existence entirely from the law."

§urist.it: gerson: HOLD HARMLESS AND lNDEMNITY AGREEMENT DOCUMENT lN
HAN'D SHOWS: "An abstract legal entity errs legis such as a corporation created by construct of
law considered possessing certain legal rights/duties ol'a human being; art imaginary entity. such
as DEBTOR, |`or instance, BERTRAM ANDREWS~POWLEY_I]I© upon basis ot'legal reasoning,
is legally treated as a human being for purpose of conducting commercial activity for benefit ol'a
biological live being such as Creditor."

Sel:ttlenf Livg Bel'ng !sutll|: HOLD HARMLESS AND fNDEMNITY AGREEMENT
DOCUMENT lN HAND SHOWS: ‘”The Creditor, for t`nsLal‘tce, ;ra-nn-ra'khuti-amen:bey, a live
breathing flesh and blood man, as distinguished f rom an abstract legal construct such as an
artificial entity juristic person corporation partnership acid association

. BERTRAM ANDRES-POWLEY,[||©Z HOLD HAR_MLESS AND lNDEMNlTY AGREEMENT'

IN HAND SHOWS: "The DEBTOR BERTRAM ANDREWS~POWLEY,I![© means BERTRAM
ANDREWS-POWLEY,I[| including, but not limited to, anyl and all variations and derivatives n
the spelling of said name except ira-nu-ra-kl)uti-amen:bey or any variation of the appeallation.

. Living breathing flesh tang blg@ malt: HOLD HARMLESS AND INDEMNITY

AGRE.EMENT DOCUMENT IN HAND SHOWS: "’l`he Creditor :ra-nu-ta-kht.tti-amert1bey_
Bailor, a sentient live being, as distinguished f`rom an artificial legal construct, ens - legis, for
instance, a juristic person, created by contract of |aw.

. Transmitt.illg Utility; HOLD HARMLESS AND INDEMNITY AGREEMENT DOCUMENT lN

HAND SHOWS: “The term transmitting utility means a conduit, for instance, the DEBTOR,
specifically, BERTRAM ANDREWS-POWLEY,II|©," including, but not limited to, any and all
variations and derivatives itt the spelling olsaid name except fra-nn-ra-khuti-arnen:beyr and all
variations ol' the appellation

. §§.C.C.: HOLD HARMLESS AND INDEMNITY AGR.EEMENT DOCUMENT IN HAND

SHOWS: “U.C.C. means Uniforrn Commercial Code"_

. Ntm ghstingte: HOLD HARMLESS AND INDE.MNlTY AGREEMENT DOCUMENT lN

HAND SHOWS: “Tlre term non obstinate means words anciently used in public and private
instruments with intent of precluding in advance “any interpretation” other titan certain declared
objects purposes."

. DEBTQB; H.OLD HARMLESS AND INDEMNITY AGREEMEN'I` DOCUMENT lN HANIJ

SHOWS: “BERTRAM ANDREWS-POW].F,Y,I[I©, BERTRAM POWLEY©, BERT
POWLEY®, BAILEE.

. §;r§tlitor: HOLD HARMLESS AND lNDEl‘v‘lNIT‘:r AGREEMENT DOCUMENT lN llAND

SHOWS: “;ra-nu-ra-khuti-amen:bey accepts DEBTOR`s signature endorsement mark below in
accordance with UCC l-2-l(39) as pursuant UCC 3-40l(b}."

. §§§LEE: HOLD HARMLESS AND ]NDEM'NlTY AGREEMENT DOCUMENT lN HAND

SHOWS: “BAILEE is a person who receives personal property from another as bailment"`

. Bailment: HOLD HARMLESS AND TNDEMNITY AGREEMENT DOCUMENT lN HAND

SHOWS: "A person or man or woman who delivers personal property to another as a bailment."

. Bailgr: HOLD HARMLESS AND INDEMNITY AGREEMEN'I` DOCUMENT IN l~lAND

SHOWS: “A Person who delivers personal property to another as a bailment."

. The Undersigned :ra-nu-ra-khuti-amen:bey is Beneliciary (BFY) as Secured Party and Non-

Enemy, Non-Tax Protestor, Non-Belligereitt, NON-UNITED STATES CORPORATE TITLE
28 U.S.C. 3002(15) CITIZEN, Noit g Sttrety, Ncn - Combatattt American National Sovereign
hereina ller “Creditor" and "Bailor".

Dated October ,2017

 

 

    

h m
/ /¢W

 

BERTRAM ANDREWS-POWLE Y,Il[©‘
ENS-LEGIS. TRANSMITTI`NG UTlLITY, DEBTO

    
   

:ra-nu-ra-khuti-amen:bey,

uthorized Representativc, Natural Man, ln Propria Personn,
Ex-Relatione BERTRAM ANDREWS-POWLEY,I][, A||
Rights Reserved UCC 1-207 f l-Ztltlt 1403 with tlte voidance
ol'prejudice

 

 

Page 2 nfl

CaS€ 8219-bl<-01965-CP|\/| `DOC 1 Filed;OB/OS/J_Q "`Page 21|_'01c 64

 

\),'
5
.\
I_\
_\

,/l

 

 

 

 

<‘j'l:l~

. PF-', MWF$ SHK,|??,Z|_?GB-CP|\/| DOC 1 Filed 03i08/19 Page 22 Oi 64

 

THE MOORISH NATIONAIJ REPUBLLC
THE MOOR_|SH DIVFNE AND NA'I`IONAL MOVEMENT OF THE WORLD
Aborigt'nal and Indr'genous Narrrrai' Peoples of Non‘h-West‘ Amexem Nort‘h Amer.icn

NON-NEGOTIABLE SECURITY AGREEMENT

BETWEEN THE PARTIES
Fll.E F()R RECORD - TlllS lS INTERNATIONAL LlF.N AGREEMEN'I`

This non-negotiable and non-transferable SECURUTY AGREEMENT is made and entered into this day
October 201'»', by and between BERTRAM ANDREWS-POWLEY,III©, hereinafter
“DEBTOR", Organization Nuinbet.Z?t=d.Z'l'l, 'Z't‘t, and ra-itu-ra-kltuti-amen:bey.
hereinafter “Secured Party Creditor”, a Moor.' ipso hire as Moorish-Subjects Citt`zettship Expatriation i»'tct
page 439 Chapter 4 Temporary Provisions Morocco. The parties, hereinafter "Parties", are identified as
follows:

l. All property of BAILEE, DEBTOR BERTRAM ANDREWS-PGWLEY,IH© l'.'tto MARW
AVENUE TAMPA, FLORlDA 33612, is now gereby secured property as bailment of Bai|or,
Secut'ed Party - Creditor :ra-nu-ra-khuti-atnen:bey. cio [~1706 Marvy Avenue -Tampa-Terri`tory,
~Floti`da~Republic ~336| 2-9998] rtort domestic with the voidance oftlte UNlTED STATES,
Secured Party Creditor must be fully compensated before any property can be exchanged, so|d,
lendered, disposed of, or forfeited in any manner. This property now owned or hereinafter
acquired includes but itt not limited to, all proceeds ptoducts, accounts and fixtures from crops,
mine heads, wellheads, transmitting utilities, etcetera, rent wages, salary, all and any income, all
and any intercsl, all and any dividends land, mineral1 water, and air rights, conages. houses,
buildings, structures, bank accouitts, private treasury accounts, bank deposit boxes and contents
tlterein, retirement plans\ derivatives, stocks, bonds, securities, benefits from trust1 inheritances
received or in receivership, inventory from any source, all machinery and tools including fami and
industrial, livestock1 equipmenL l't[lh wheel trailers, automobiles trucks, four wlteelers, boats,
water cta|`L aircrafl, motor homes, mobile homes,jewelry, gold, gold bulliou, silver, silver bullion,
diamonds, gems, precious stones. wedding bands, rings. watches, all household goods, appliances,
any type of furniture, kitchen utensi|s, cooking utensiis, radios, televisions, computers, disk drives,
books, linancia| records, papers, musical instruments antiques, all sporting equipment, firearms
guns, ammunition, safcs, and all other property held for benefit by myself or others Any and all
property not specifically referenced by make, model, and serial number is also included.

2. This privately held Non-Negotiab|e Security Agreetnettt iit hand cannot be discharged in
bankruptcy conti or any other court, as holdcr’s property is exempt from levy. Secured Party
Creditor accepts all signatures in accordance with UCC 3-4\ 9_ Adjustment oftltis recording is
li'otn House joint Resolution 192_ Public Law 73.10, and UCC l-lt}4. All proceeds, accounts, and
orders therefrom are released to Secured Party Creditor.

3_ This Non-Negotiable Security Agreement instrument itt hand supersedes atty and all, but not
limited to, documents or claims purporting to have a higher standing against Undersigned’s bona-
fide. otiginal, wet ink signature set forth irt the correct syntax structure for the communication in
parse syntax language appellation ;ra-nu-ra-lthuti-atnen:bey in correlating correct accounting
practice numbers

 

The Undersigried :ra-nu-ra-khuti-amen:bey is Betteliciary (BFY) as Secttred Party and Non-Enemy1
Non-Tax Protestor, Nott-BelligerenL N()N-UNITED STA'l‘ES COR_PORATE TlTLE 28 U_S.C.
3002( l 5) ClTIZEN, Nori - Surety, Non - Combatant American National Sovereign hereinafter
“Creditor" and “Bailor",

l"\ Daied october ,2017

§ ,J. q ?,
'ra-ttu-ra» tut -amerttbey,

BERTRAM ANDREWS~POWLEY,III©, `t\
E,NS-LEG]S, TRANSMETI'|NG U'l`iLlTY, UEBTOR rizcd Representative, Natural MatL lrt Propria Persorta,
iatiorte BERTR.AM ANDREWS-POWLEY,III, Ali

ltts Reserved UCC l-Zt)‘l'f l-308f t-lt)3 with the voidancc

 

 

 

  

 

 

 

Pagc l of l

ease 8:19-bt<-01965-CPl\/l Doc"; 1 _ Filen\`os?/oa/le .'-_Page 23 of 64

 

THE MOORISH NATIONAL REPUBI..IC

 

THE MOORISH DIVfNE AND NATIONAL MOVEMENT OF THE WORLD
Abnrr'gi'nal and indigenous Narural Peoples ofNorth-Wesr Amexem Noth Amerien

COMMERC[AL SECURI']`Y AGREEMENT

 

NUMBER BAP1007999999-R_BZ

 

NON-N'EGOTlABLE-NON-TRANSFERABLE

FILE FOR RECORD - THIS lS [N'I`ERNATIONAL NOTICE

This non-negotiable and non-transferable Cor.'ninercial Security Agreement is made and entered into this
day Oc!ober , 2017, by and between BERTRAM ANDREWS-POWLEY,I!I©, hereinafter
“DEBTOR". Ot'ganization Nurnber*-BZ? l , IZ'H ,“27 1, and ra-nu-ra-kliuti-arnen;bey,
hereinatier “Secirred Party Creditor”, a Moor l lpso Jure as Moon`sh-Subjects Citizenship Expatriation Act
page 439 Chapter 4 Temporary Provisions Morocco. The parties` hereinafter “Parties", are identified as
follows:

DEBTOR

BERTRAM ANDREWS-POWLEY,III© A LEGAL EN'l`lTY l TRANSMI'[`TING UTlL[TY (aiid all
derivatives thereon

~1706 Marvy Avenue

~Tarnpa-Teiritory, ~Florida-Republic [33612-9998]

Organization Nuniber(s): *-8271, -8271, wl'¢'l

 

Secured Party Creditor

:ra-nu-ra-khuti-anien:bey, a Moor America.n National, Oiiginal, lndigenous, Natural lnhabitant, Living
Human-Beit!g, ln Propria Persona, Sui lutis, lii Solo Proprio

c."o ~1?06 Marvy Avenue

~Tarnpa-Territory, -Florida-Republic [33612-9998]

Non-Don:testic with the voidance of the United States of Arnerica

Exempt from levy

This Security Agl'eement (Agreement) is made and entered into on or about June lS, 1971 pursuant live
birth, and with the execution of Trust on March 28, 1974 pursuant registration of the (bearth) certificate
` between the "real" man :ra-nu~ra-khuli-amen:bey, Executor f Settlor f Trustee l Principal (hereinal`ter

§ known as) the Secured Party Creditor and the juristic Persons l Strawman f Dummy Corporation, Ens f
` l_.egis f Transmitting Utility etcetera, (herein alter known as) DEBTOR,

 

 

Now, therefore the Parties agree as follows:

DEBTOR1 who deems itself insecure, hereby grants Secured Party Creditor a security interest in the
collateral described generally herein or specifically on the enclosed Auachment “A" - Properry l_.isL
incorporated herein as ifii.illy set forth within this Comriiercial Security Agreement, hereinafter referred to
as “collateral". This will secure all DEBTOR‘s property, as well as all income from every source, and all
direct and indirect, absolute or contingent, due or to become due, now existing or hereafter an`sing,
presumed Or actual, parole or expressed public indebtedness and liabilities hold by DEBTOR in
consideration for Secured Party Creditor providing certain things and accommodations for Dl£l?.TOR1
including but not limited to:

1. Secured Party Creditor signing by accommodation l`or DEBTOR, when necessary, where the
signahn'e of DEBTOR will be required Secured Party Creditor reserves the right to make
Sufficient claims to secure such indebtedness until satisfied iii whole.

2. Secured Party Creditot issuing a binding Comrnit_mertt to extend credit or to extend immediately
available credit, whether or not drawn upon and whether or not reimbursed in the event ol'
difficulties in collectiou; and

3. Secured Party Creditor providing the security for payment of all sums due or owing, or to become
due or owing, by DEBTOR on every public contract entered into by DEBTOR. DEBTOR declares
dial it is a legal entity recognized as such and has rights and privileges recognized under the laws

 

Page 1 of4

ease 3:19-bt<-01965-CPI\/l boc 1 Ftled`oa/©e/lQ-i- Page 25 of 64

'\`
t\_.

 

 

lj'<ijl

- PF\?- J`.!lqlbl‘l':a€e‘tl+tlQ-bt<-Olees-CPM Docl Filed 03/08/19 Page 26 ot64

 

 

ofthe UNlTED STATES, as has been the case since its creation iu 1971 l 1974 (registration of
birth ccrtil'lcate), All legal means to protect the security interest being established by this
Agrccment will bc used by DEBTOR when necessary; and all support needed by Secured Party
Creditor to protect his security interest in the collateral identified herein will be provided by
DEBTOR_ Execution of this Commercial Security Agreemettt incorporates a promise that
DEBTOR will execute such commercial f`onns as may be necessary, including but not limited lo
financing statements to assure that Secured Party Creditor`s interest is perfected The security
interest established by this Agreement will continue until Secured Party Creditor is relieved ofall
liability associated with said services provided to DEBTOR and until all owing and due
consideration to Secured Party has been dclivered, regardless of whether the collateral identified in
~ this Agreement is in the possession of DEBTOR or Secured Party. DEBTOR warrants that
Secured Party Creditor’s claim against the collateral is enforceable according to the terms and
conditions expressed herein and according to all applicable laws promulgated for the purpose of
protecting the interest ofa creditor against a DEBTOR. DEBTOR also warrants that it holds good
and marketable title to the collateral` free and clear of all actual and lawful liens and
encumbrances except for the interest as may have been privately established by agreement of the
Parlies with full attention to the elements necessary to establish a valid contract under international
contract law_ Public registered prior to the registration of Secured Party Creditor’s interest in the
same collateral, as is well established in international commercial law.

 

 

GENERAL PROVISIONS

ngsesaion of Cgllgggral: Collateral or evidence of collateral may remain iu tltc possession of DEBTOR, to
be kept at the address given in this Agreement by DEBTOR or such other place(s) approved by Secured
Party Creditor; and notice of changes in location must be made to Secured Party Creditor within ten(ll))
days of such relocation DEBTOR agrees not to otherwise retrieve the collateral except as is expected in the
ordinary course of business, including sale of inverttory, cxchange, and other acceptable reasons for
removal When in doubt as to the legal ramifications for relocation. DEBTOR agrees to acquire prior
written authorization from Secured Party Creditor. DEBTOR may possess all tangible personal property
included in collateral have beneficial use of all other collateral and may use it in any lawful manner
consistent with this agreement, DEBTOR’s right to possession and beneficial use may also apply to
collateral that is in the possession ofSecured Party Creditor ifsuch possession is required by law to perfect
Secured Party Creditor`s interest in such collateral. IfSecured Party Creditor, at any time, has possession of
any part oflhe collateral whether before or alter art event of default, Secured Party Creditor takes such
action for that purpose as deemed appropriate by Secured Party Creditor under the circumstances

 

 

Prg§g§gl§ and Prgducts from Collatgral: Unless waived by Secured Party (,`reditor, all proceeds and
products from the disposition of the collateral for whatever reason, shall be held in trust for Secured Party
Creditor and shall not be commingled with any other accounts or funds without the consent of Secured
Party Creditor. Notice of such proceeds shall be delivered to Secured Party Creditor immediately upon
receipt. Except for inventory sold or accounts collected in the ordinary course ofDEBTOR's public
business, DEBTOR agrees not to sell, offer to sell, or otherwise transfer or dispose ofthc collateral, nor to
pledge, mortgage, encumber, or otherwise permit the collateral to be subject to a lien, security iuterest,
ettcumbrance, or charge, other than the security interest established by this Agreetnent. without the prior
written consent of Secured Party Creditor.

 

Mgintenance of§ ollatgrgl; DEBTOR agrees to maintain all tangible collateral in good condition and
repair, and not to commit or permit damage to or destruction of the collateral or any part ofthe collateral
Secured Party and his designated representatives and agents shall have the right at all reasonable times to
examine, inspect. and audit the Collateral whenever located DEBTOR shall immediately notify Secured
Party of all cases involving the retum, rejectiou, repossession, loss, or damage of or to the collateral; of all
requests for credit of adjustment ofcollatera|. or dispute arising with respect to the collateral; and generally
ofall happenings and events affecting the collateral or the value or the amormt ofthe collateral

Cornp_l_i_'gngg with law: DEBTOR shall comply promptly with all laws. ordinances and regulations ofall
govemmenlal authorities applicable to the production, disposition or ttse ofthe collaterall DEBTOR may
contest iLt good faith any such law, otdirtatlce, or regulation without compliance during a proceeding
including appropriate appeals, so long as Secured Party Crcditor’s interest in the collaterat. in Secured
Party Creditor`s opinion, is not jeopardized,_Sccured Party Crcditor may, at his option, intervene in atty
situation that appears to place the collateral in jeopardy

 

 

Pghlic Disputt$: DEBTOR agrees to pay all applicable taxes, assessments and liens upon the collateral

when due, provided that such taxes, assessments1 and liens are proved to be superior to the lawful claim

established by this agreement and subsequently perfected by Secured Party Creditor by appropriate

registration lrt the event that DEBTOR elects to dispute such taxes, assessments and lien, Secured l’arty

Creditor`s interest must be protected at all times, at the sole opinion ofSecured Party Creditor_ who may,

his option, intervene in any situation that appears tojeopardize Secured Party Creditor’s interest in the

1 collateral DEBTOR may elect to continue pursuit ofdispute ofsuch taxes, assessments and lien, only

‘ upon production ofa surety bond by public clairrtarlts, in favor of Secured Party Credilor, sufficient to
protect Secured Party Creditor from loss, including all cost and fees associated with such dispute Should
public judgment against DEBTOR result from such dispute, DEBTOR agrees to satisfy such judgment

 

Page 2 of4

Case 8:19-bk-01965-CPI\/| "'Doc 1 Fi|`e"d‘iO§/OS/t§t ` lPage 27 of 64

 

 

 

;:
t
t
;_`

 

.: _ . , 571
§ -PF-'l J.Jdo|bl'lca(s§a.hQ-bt<-oloes-CPM Docl t=iled 03/0§/‘19 Page 28 ot64

.i
t
z

 

 

 

 

 

 

 

 

  

 

from its accounts established and managed by the UNl'fED STATES or its subdivisions agents oflicers,
or affiliates so as not to adversely affect Secured Pany Creditor’s interest in the collateral

lgdgmnilicatign: DEBTOR hereby indemnilies Secured Party Creditor from all harm as expressed ill the
htdemnity Bond, incorporated herein as if fully set forth within this Commercial Securily Agreement.
Providing that Secured Party Creditor, subsequent to the execution ofthis agreement, perfecls his security
interest in the collateral by appropriate county registration, DEBTOR agrees that its indebtedness to
Secured Party Creditor, whether now existing or hereafter created, shall have priority over unregistered
claims that third parties may raise against DEBTOR or the collateral whether or not DEBTOR becomes
insolvent. DEBTOR hereby expressly subordinates any claim that DEBTOR may have against Secured
Party Creditor, upon any account whatsoever‘ to the claim lien Secured Party Creditor has or will have
against DEBT{)R. lf Secured Party Creditor so request, all notes or credit agreements now or hereaiter
established, evidencing debts or obligations of DEBTOR to third parties, shall be marked with a legend that
the same are subject to this Agreernern and shall be delivered to Secured Party Creditor. DEBTOR agrees,
and Secured Party Credilor is hereby authorized, in tire name ofDEB'l`OR, to execute and file such
financing statements and other commercial statements as Secured Party Creditor deems necessary or
appropriate to perfecl, preserve, and enforce her rights under this Agreernerit_

DEFAQLT:
The following shall constitute events ol' default hereunder:

l Failure by DEBTOR to pay a debt secured hereby when due',

Z. Fai|ure by DEBTOR to perform an obligation secured hereby when required to be performed;

3. Breach by DEBTOR of a warranty contained in this Agreement;

4 Evidence that a statetnent, warranty, or representation made or implied in this Agreement by
DEBTOR is false or misleading in any material respect, either now or at the time made or
furnished;

5. Evidence that this Agreement or a document oftitle is void or ineffective;

6. Dissolution or termination of DEBTOR`s existence as a legal entity, the insolvency of DEBTOR,
the appointment ofa receiver for all or any portion of DEBTOR's property, an assignment for the
benefit of public creditors or the cotmnencement of proceedings under bankruptcy or insolvency
laws by or against DEBTOR;

7. Commcncement ol` foreclosure whether by action ofa lribunal, sclf-help, repossession, or other
method, by a creditor ofDEBTOR against the collateral;

8. Gat‘nishment of DEBTOR'S deposit accounts or employment

Cur‘e for Del'at.tlt: lta fault or dishonor under this Agreement is curable through an account held by
DEBTOR but managed by the UN|TED STATES or one ofits subdivisions agents officers or alli]iates,
such fault or dishonor may be cured by DEBOTR with authorization by Secured party Creditor and upon
advice by the fiduciary that the fault or dishonor has been cured; and no event of default will have
occurred A dishonor under this Agreement, initiated by third party intervention will not cause a default if
such intervention is challenged by DEBTOR by its good faith effort to confirm or disprove the validity or
reasonableness ofa public claim which t`s the basis ofthe ofthe public creditor`s proceedingl but DEBTOR
must, in that event, deposit Such surety with Secured Party Creditor as is necessary to indemnify Secured
party Creditor from loss.

Accglgratlon: ln the event ofdefault, Secured Farty Creditor may declare the entire indebtedness
immediately due and payable without notice.

Liguiglgg'gn 0|‘ Coll§¢era|: lit the event of default, Secured Party Creditor shall have full power to
privately or publicly se|l, lease, transfer, or otherwise deal with the collateral or proceeds or products
therefrom, in his own appellation or in the name ofthe DEBT()R. Al| expenses related to the liquidation of
collateral shall become a part of DEBTOR`s indebtedness Secured Party Creditor may, at his discretion,
transfer part or all ofthe collateral to his own appellation or to the name ofltis nominee

§‘!ghts and R§metlies: Secured Party Creditor strait have all the rights and remedies of a secured creditor
under the provisions of the l.lniform Cotmnercial Code, as it has been adopted in the state where part or all
ofthe collateral is located or presumed to be located, including by not limited to the right to proceed with
self-help with or without a public court or tribunal flights and remedies available to Secured Party Creditor
may be exercised singularly or jointly and in all venues and jurisdictions concurrently at the sole discretion
of Secured Party Creditor_

M ELLAN S PR Vl IONS
Amentlments: This Agreement, together with all related documents constitutes the entire understanding
and agreement ofthe Parties as to the matters set forth in this Agreement. No Alteration ofor amendment

to tltis Agreement shall be effective unless expressed in writing and signed by both Parties,

.'\pplicablc law: The governing law of this Agreement is the agreement ofthe Parties_ supported by the
Unifomi Comntercial Code as adopted by the legislature ofthe "STATE OF FLORlDA", intemational

Page 3 of¢l

ease 8:19-bt<-01965-CPt\/t 'Dcic 1" t=tted 03/03/19" gage 29 or 64

 

rio _ w
'_" w l °“c';aLs'e{§hQ-bt<-ol%s-CPM Doc 1 i=iled osiO§/\isa Page 30 of 64

contract law, the unwritten Law Meichant as practiced before the Uniform Commercial Code was
promulgated1 and applicable maxims of law.

Expeiises: [)EBTOR agrees to pay upon demand, from such accounts as DF_BTOR may liave, all Secured
Party Creditor`s cost and cxpenses, including reasonable attorney's fees and other expenses incurred by
Secured Party Creditor to defend or enforce the provisions of this Agreeinent_

lndehtedneas: The word “indebledness" means the indebtedness evidenced by this Agreement as a claim
against DEBTOR and all its present and future possessions identified in this Agreeinent as collateral; and
all public obligations, debls, an liabilities ascribed to DEBTOR through its contracts and agreements,
whether expressed or implied, known or unlmowii, or actual or constructive that are with the UNlTED
STATES or its subdivisions, agents, of|'icers, affiliates, or other public entities; and all claims made by
Secured Pany Creditor against DEBTOR. whether existing now or in the future, whether they are voluntary
or involuntary, due or riot dne, direct or indirect, absolute or contingent, liquidated or un-liqntdated,
regardless of whether DEBTOR is or may be liable individually orjoinlly, or is obligated as, or beneficiary
ot', a surety or accommodation party

Related Documerlt.'i: The phrase "related documents" means all promissory notes, credit agreenieiits, loan
agreements, guaranties security agreements mortgages deeds oftrust‘ applications accounts licenses
policies, perinits_ identification cards. account cards, receipts, forms, and all other documents and
instruments that DEBTOR or its previous surety has or will execute in connecticut with DEBT()R's total
indebtedness

Notices: Except for revocation notices by DEBTOR, all notices required to be given by either party under
this Agreenient shall be iii writing and shall be effective when actually delivered or when deposited with
the United States post O{l`ice or a nationally recognized courier serviee, first class postage prepaid,
addressed to the party to whom the notice is to he given at the address shown on this Agreerneiit or to such
other address as either Party may designate to the other in writing

Waiver of Contraciuiil `,Riglit: The failure of either Party to enforce one or more provisions of this
Agrcemenl shall not be construed as a waiver or limitation of that Party’s right to subsequently en force and
compel strict compliance with every provision of this agreenient. Secured Party Creditor shall not be
deemed to have waived rights under this Agreement unless such waiver is given iii writing and signed by
Secured Party Creditor. No delay or omission on the part of Secured party Creditor iii exercising a right

‘ shall operate as a waiver of` such right or any other rightn A waiver by Secured Party Creditor cfa provision
ofthis Agi‘eerncnt shall nol prejudice or Coltslitute a waiver of Secured Party Creditor’s right otherwise to
demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by
Secured Party Creditor_ nor any course of dealing between Secured Party Creditor and DEBTOR. shall
constitute a waiver of Secured Party Creditor`s rights or of DEBTOR’s obligations under this agreement as
to future transactions W`tienever the consent of Secured party Creditor is required under this agreemerit, the
granting ofsuch consent by Secured Party Creditor in one instance shall not constitute consent over the
whole.

Amhiguities and lnterpretation: Each Party acknowledges receipt ofthis agreement and has had the
opportunity to have counsel review it. Any rule of construction claiming ambiguities is to be resolved in
favor ofSecured Parry Creditor and shall not apply iii the interpretation ofthis agreement or its
amendments All statements iii this instnimerit are important to the Parties, Misunderstandings have been
resolved prior to execution

Authority to Represent: A signer ofthis agreement on belialfofa legal entity certifies that lie has the
authority to sign this agreement and that this transaction has been duly authorized by such entity

Gender: All references within this agreement to a specific gender include the other.

SIGNATURES

For the knowledge ofthe Secured Party Creditor is with the acceptance of all signatures in accordance with
the Uniform Commercial Code and the acknowledgment of the [)EBTOR 's signature as representative of
all derivatioiis thereofby lawful confirmation ofathdavit offact`

n

     
   

 

 

BERTRAM ANDREWS-POWLEY,!II©,
ENS-LEG!S, TRANSMl'l'l`lNG `U'l`ll_,l'l"Y, 'DEBT

huli-at'nen:bey,

ii\horizcd Represemative, Nariiral Man. ln Propria Persona,
Ex-Relaliorle BEERTRAM ANDREWS-POWLEY,HI, All
Rights Reserved UCC l-ZO'I! l-308f l-lt)J with the voidance
of prejudice

 

 

 

Page 4 oi`4

ease 3:19-b§<-01965-CPI\/l `E)_`;o`i: 1 Filed"\c)$/O$/lsa: ` §F§age 31 of 64

 

§
§
§
1
§
§
§
§
§

 

 

 

 

 

§
t
§
z
¢
§
t

 

 

 

 

 

 

 

15 vel _-l" lt

PFR _.'_m;l|;,\-ea{@:JQ-bk-01965-CPM Doc 1 Filed 03/03/19 Page 32 of 64

 

'I`HE MOORISH NATIONAL REPUBL|C
TIIE MOORISH DIVINE AND NATEONAL M()VEMEN`[` OF THE WORLD
Aborr`ginal and Indigenous Narurai Peaples of Narth- Wesi‘ Amexem Nortk America
lnternational Registered Private Traeking Number '-- 7017]000000109855026
ATTENTION AND WARNING

'I`l.{lS lS A LEGAL NOTICE AND DEM.AND

 

FIAT JUSTITIA, RUAT COLEUM

F[LE FOR RECORD - THIS IS INTERNATIONAL LEGAL NOT]CE AND DEMANl_)
To: All City, Co'unty, State, Federal and international Public Ol`t`tcials, by and through
FLORlDA SECRETARY OF STATE KEN DETZNER
TAKE NOTICE'. lGNORANCE. OF Tl{E LAW lS NO EXCUSE‘

THIS IS A CONTRACT IN ADMIR.ALTY ]URIDIC'I`ION‘

Take a moment to read this before you proceed any further. l do not wish to speak to you under any

circumstances excluding federaljudicia| review
TH|S lS FOR YOUR PROTECTION!!!

l. I, one rra-nu»ra-khuti-amen:bey. a free Original National Moorish American man, the
Undersigned, herein request that you present anything that you say me in writing, signed under
penalty ol`perjury as required by your law as shov\m in this instnmtent. Nutice to Agen¢ is Nuti§e
L_g Pr'mcigai. Not'!ce to Pringigal is Nutig§ to Agent. Attacluneut “A" Property list and Legal
Notice and Demand Def'lnitions are included and are part of this contracr_

2. This Notice is in the nature ofa Miranda Warnirlg. Take due heed ol`its contents If`, for any
reason. you do not understand any ol' these statements or warnings, it is incumbent upon you to
surm'non a superior ol'l`lcer, special prosecutor, federal judge, or other competent legal counsel to
immediately explain to you the significance oi`this presentment as per your duties and obligations
in respect to this private, formal, notarized, registered Statute Staple Securities Instrument. As
pursuant Tit|e ll USC SGlta}, 502(3), ll USC 700], 70| 'i, and Federal Ru[es of Civil Procedure
Sections 8 (a), and 13 (a), the claim or presumption that l. :ra-nu-ra~k]iuti-amert:bey, am a
DEBTOR to the "UNITED STATES" or any of its agencies or sub-corporations is forever
rebutted by this contractA This rebuttal is a counterclaim in Admiralty.

3. Your Failu!e to timely do so leaves you in the position of accepting l`ull responsibility for any and
all liabilities for monetary damages, as indicated herein. that l incur by any adversely affecting

injuries caused by your overt or covert actious, or the actions of any of your fellow public officers

Page i ofll

Case 8:19-bk-01965-CPI\/| `Doc 1 Filed.,OS/OS/»l§' Page 33 of 64

_`\
T\'

   

 

 

 

` PFY,`-'~.$lhl@asé€:)s-bi<-01965-CPM Doc1 Filed 0§70§/§91 Page 34 of64

and agents in this or any other relevant matters as described herein You have thirty (3{]) days,

 

f`rorn the date that this document is received by the Clerk ol'the Public Record, to respond and

rebut the presumptions ofthis contract by submitting to me signed, certitied, authenticated

 

documents ofthe laws that rebut these presumptions point by point, On and For the Record under
penalties ofthe law including perjury. This document will be on tile in the public record: and the

clerk in charge ofthe public record is charged to distribute this to any and all responsible parties,

 

for instance, of`licers ofthe court, and or law enforcement officers including local, state, federal,

intemational, multijurisdictional, or any and all ofticers, representatives contractors, agencies or

 

 

any such entity or person that may bring any type ofaction, whether civil or criminal or other,
against me, and whether in this count, state, region, area, country, corporation, federal zone, or in
any venue and./ or}urisdiction. Your failure to timely rebut the statements and warnings herein
constitute your complete, tacit agreement with all statements and warnings contained herein. Your
presumptions that I, the Undersigned, am a "Corporate Fiction" or “Legal Entity" and under your
corporate l‘UN]']`ED STATES" jurisdiction is now and forever rebutted

4. l the Undersigned, tendering this documeut, am 3 Private People of Posten'ty', a Sovereign Persona

 

So_ionrn', a Moor - lpso Jure'_ by fact; not a 14 Amendment citi?en or surety within; or subject
for; or allegiance to,' your corporate "UNITED STATES", or to any de facto, compact, corporale,

commercial STATES contracting therein', only lo the l‘united States ol" America"' nonetheless

 

carrying with me exclusive, original, sovereignjurisdiction and venue having one supreme court

and United States Court of international Trade_ '[`his is a matter ofpublic record, tendered by way

 

otcertil'ied mail to FLORlDA SECRETARY OF STATE KEN DE'I‘ZNER.

5. I, the Undersigned, now tendering this lawful binding Legal Notice and Demand in hand am nola
surety under yourjurisdietion nor a subject under your corporate veil “Color of Law Vetnie,"
being acknowledged by silence and acquiescence ofKEN DETZNER, respectfully FLORlDA
SECRETARY OF S'I`A'I‘E, also but not limited to any public officers, agents, contractors, assigns,
employees, and subsidiaries of your ol'l'ice, regarding my Legal Notice and Demand tendered by
certified mail.

6. Silenee ol`Corporate Oi`l'lce SECRETARY OF STATE f DF,I"ARTMENT OF STATE OF
FLORlDA ratifies severances of any nexus or relationship lo de facto, corporate, commercial
STATE oftiees; being fraudulent conveyance by operating under "Color ot'Authority" upon the
Real man or woman, Secured Party Creditor. Let this be known by the “Goocl Faith tOxtord)
Doctrine" to all men and women t do not consent to any warrantless searches, or searches that are
not com.pliant with the Constitution t`or the united States of Arnerica - Repub|ic" and t or all ot`the
amendments ofthe llonorable "Bill oi`Riglns”, whether of my dwellings, cars, land cral`t,
watercrali, aircratl, me, minc, current location, property, hotel roonis, apartments, business

records. businesses, or lny Inachiuery, vehicles, equipment` supplies, computer equipmeut,

 

PageZ ole

 

ease 8:19-bt<-01965-CPl\/l proc 1 F,ile__éi 93/08/.19` Page 35 or 64

    

 

 

-ic,.s.,__ ... .-.,s .c.=

 

 

 

 

 

 

 

 

t
t
::
i

PFR -l-Ki»il Bdé§.g.')Q-bk-Ol%B-CP|\/| DOC 1 Filed OS/Sé%§{ Page 36 of 64

buildings grotmds, land in my private possession or contro|, past, present, and future, now and
forevermore, so help me ALLAH,

By this record let it be known that l do not al any time waive any rights or protections, as
acknowledged by the aforementioned Constitution arthor liouorable "Bill of Rights", nonetheless
demanding that you protect these as you swore an oath to do so. l accept your lawful requirement
oand'i of Of`flce, bonds ofauy type, insurance policies. and property ofany type for my
protection and making whole Funhermore, should you witness any public officers at this titn€. Or
anytime past, present, or future violating any ofmy civil rights or protections, it is your sworn
duty (oanth) to immediately arrest. or have them arrested You are ofthe legal requirement to
charge them as you should any law breaker, regardless ofofftcer’s tiller ranlt, uniform, cloak,
badge, positiotl, stature, or ofl'tce; or you shall henceforth be accountable for monetary damages
from, but not limited to. your monetary liability, your CORPORATE bond, your law - required
private bond. compensatory costs, punitive procurentents, and sanctioned-by-attomey attributions.
Note: A true and correcl, notarized copy ofthis Statute Staple Securities lnstrument is safely
deposited in the HILLSBOROUGH COUNTY CLERK`S OFFICE near or at ~HILLSBOROUG
COUNTY, near or at ~TAMPA-TERRITORY, near or at ~ FLORlDA-REPUBL|C. lt is my
policy to present this document to any officer, agent. or representative that has atty interaction
with me. I have a lawful right to travel, by whatever means, via Eand, sea. or air. without any
oil`lcer, agent employee_ attorney, or judge willfully causing adverse affects of damages upon me
by an arrest, detainment, restraint, or deprivation [ will be granted the status and treatment of a
foreign Sovcreign, a foreign diplomat, by all customs official. This document or the deposited
copy becomes an evidentiary document certified herein, as if now fully reproduced, should any
court action be taken upon me as caused by your acts under color of|aw with you, your officers
and employees Talte note: You are now lnouetarity liable in your personal and CORPORATE
capacity. l, :ra-nu-ra*klruti-arnen:bey, Free man, the Undersigned, Ahoriginal Moor American,
Sovereign, notwithstanding anything eontrary,, abide by all laws in accordance with the
aforementioned Constitution and Honorable “Bill ofRights” which are applicable to Sovereigns. l,
;ra-nu-ra-khuti-amen:bey, wish no harm to any man_ You agree by your non-response to uphold
my "Right to Travel”, or you must rebut my presumption by lawfully documented evidence in law
On and For the Record, Under Oath. and penalty ofperjury, within thirty (,‘tt)) days as
aforementioned in this Admiralty Agreen‘tent.

BE WARNED, NOTICED, AND ADV]SED that l rely upon, in addition to constitutional limits
of the "Constitution for the united States of Ameri`ca-Repub]ic" and f or the l-lonorable “Bill of
Rights". govemrnental authority, the rights and protections guaranteed under llnifomi
Commercial Codes, conunon equity law, laws ofadmiralty. and commercial liens and levies

pursuant to, but not ltntited, to title 42 (Civil Rights), 'l`itle 18 (Critninal Codes_], `l`itle 28 USC A

Pagc 3 of 12

ease 3:19-bt<-01965-CPI\/l doc 1 ' 't=ile`o 109/03/191: 'r>age 37 of 64

 

§)

`.\
_\

l `f
v

or "
,‘_1 /1

l)l:F- U|:tll§€b'séjj)a-bt<-oloes-CPM Docl Fileo%§’/dd/lo Page 38 ot64

(Civil codes), and additional ~Ftorida ~ Repub|ic constitution penal codes1 in as much as they are
in compliance with the aforementioned _Constitution ofthe united State of America, Treaty of
Peace and Friendsltip ofl'?li'i' and the l`Bill of Rights". There can be no violation ofattj,l of these
laws unless there is a victim consisting ofa natural, flesh and blood tnan or woman who has been
damaged When there is no victirn_ there is tto crime or law broken Unless this is rebutted within
the time limit contained herein, and the conditions of the rebuttal are not, you. or any
representative itt any Capacity ofany agency, govemrnent, corporation, or tlte like_ agree to abide
by this agreement anytime that you interact with me_ [, :ra-nu-ra-khuti-amen:bey, Free ntan, tlte
Undersigned, am oflawfttl majority age, clear head, and sound mittd.

lt). Rememhet', you took a solemn binding oath to protect and defeitd tlte original "Constitution for

the united States ofAlnerica (l't‘S'l') adopted circa l't"§l. Violations of said oath are perjury, being

 

a bad -- faith doctrine by constructive treason and immoral disltottor. 1 accept said Oatlt ofOl`f`tce
that you have sworn to uphold l declare that any and all presumptions that I am a citizen, Subject,

resident, participant, legal entity, strawman, fictiott, or atty such thing, of any and all jurisdictions

 

Oftltc UNlTED STATES OR ANY OF ITS SUBDUV[S[ONS, AGENC]ES, ENT|TIES,
DEPARTMENTS, SUBSlDlARlES are now and forever rebutted You may rebut ttty
presumptions by submitting certified Copies oflaw[`ul documents that have been certified by a
FLORlDA state`s attorney while under oath and on tlte oflicial record and under penalty of
perjury and waiving all immunities from prosecution You have thirty (30) days to rebut my
statements as indicated herein; or my Staternents will stand as true, lawful, and legal in all ofyour
courts and f or hearings

ll. This legal and timely notice, declaratiott, and demand is prima facie evidence of sufficient Notice

 

ofGrace. Tlte terms and conditions of this presentment agreement are a quasi-contract under tlte
Uni form Commercial Code and Fair Debt Collection Practices Act. Tltese terms and conditions
are not subject to any or all immunities that you tnay elaim. should you in any way violate my
rights or allow violations by Others. Yottr CURPORATE commercial acts against me or mine and

your failures to act on behalfot`me or mine are ultra vires and injurious by willful and gross

 

negligence

l2. 'l`|te liability is upon you, and for respondent superior, and upon others including atty and all

 

local, state, regional, federal, rnulti_`turisdictional, ittterrtational, and for corporate agencies, and f or
persons oftlte foregoing, involved directly or indirectly with you via any nexus acting with you;
and said liability shall be satisfied jointly and l or severally at my discretion You are sworn to
your 0th ol`Otthe, and I accept your Oath of office and your responsibility to uphold tlte rigltts
ofnte and mine at all times

PAYMENT FEE SCHEI)ULE t' BlLLlNG COSTS ASSESSED WITH LE.VIES AND LlENS UPON

VIOLATIONS SHALL BE:

 

Page4 of 12

 

 

ease 8:19-bt<-01965-CPI\/t bbc 1- ~t=iite'd' 03/08/1?9; Page 39 of 64

'\

. \`.)
,'§
f
,\
t

 

t 4 \_ oh ‘
/' `t "/’ -J

 

 

 

PFR l.t.,ld'»llp¢B'ltse(a§ral-bt<-olotzs-CF>I\/t Doc 1 Filed &H§Vio Page 40 of64

l3.

Un]awful Arrest, lllegal Arrest, or Restraint, or Dislraint, Trespassing r' Tresspass, with the
voidance oflawful, correct, and complete 4"' amendment warrant 2,0()0,000_ (two million) lawful
US Silver Species, per occurrence, per officer or agent involved

Excessive Bail, Fraudulent Bond, Cntel and Unusual Punislunent, Violatiott of Right to Speedy
Trial` Violation ofthe Right of Freedont ofSpeech, Conspiracy, Aiding and Abetting`
Racketeering, or Abuse of Authority as per 'I`itle lS USC 24| and 242 or deftnitions contained
herein: 2,t'lfltl.t)tltl‘ (two million) lawful US Silver Dol'tars. per occttrrence, per officer_ per agent
involved

Assault or Assault and Battely without Weapon; 2,[}00,|'}[}0. (two ntillion) lawful US Silver
Species_. per occurrence, per ollicer, or agent involved

Assault or Assau|t and Battery with Weapon; 3,000,000, (three million) tawfu| US Silver Dollars,
per occurrettce, per ofticer, or agent involved

Unfounded Accusalions by Oll'tcers ofthe Court, or Uolawt"ul Detennination: 2,000,000 (two

tnillion) lawful US Silver Sper:ies, per occtnrence, per ol`ftce, or agent involved

. Denial and/or Abuse of Due Process: 2,0()(}, tlt)t]. (two million) lawful US Silver Species, per

occurrence, per ofl`lcet, or agent involved

Ohstruction oflustice: 2.000,000. (two tnillion) lawful US Silver Spccies, per occurrence per
ott'tcer, or agent

Unlawful Distraiut. Unlawful Detainer. or False Imprisonmenti S,UUU,U()U. (l`tve million) lawful
US Siiver Dollars, per day, per occurrence, per oi‘l'tcer, or agent involved, plus lS“/n annual
interest

Reckless Endangerl'l'lent, Failltre to ldenlify atth or Present Credetttia]s and f or Failure to Charge
within 48 hours alter being detained: 2,0()0.000. {two milliort) lawful US Silvet' Species per

occurrence, per offlcer, or agent involved

, Unlawful Delention or lucarceralion: Z,UUU,UUU. (two million] lawful US Silver Species, per day,

per occurrences per offt cer_ or agent involved

lncarceration for Civil or Criminal Contempt ofCourt with tile voidance oflawful, doctuttettted-
in-law, and valid reason.' 2,0(}0,0(}(1 (two million) lawful US Silver Species, per occurrence. per
officer, or agent involved

Disrespect by ajudge or Ofticer ofthe Court: 2,tlt)0,t}t)tl_ (rwo ntillion) lawful US Silver Species
per occurrence, per omeer, or agent involved

Threat, Coercion, Deception, or Attempted Deception by any Ollicer ofthe Conrt: 2,0(]0_|)00 (two

million) lawful US Silver Species per occurrence, per oft'tcer, or agent involved

Page 5 of 12

Case 8:19-bk-01965-CPI\/| Dot;, 1-._ _-Filed 0_3_/0_8/19 .Page 41 of 64

 

` ' ' ‘ e bl<-01965-CPI\/| Docl Filed OS?O;§/i$[? Page420f64
. lb e

Unnecessary Restraint: 2,tltt0,0(ttl. (two million) lawful US Silver Species, per occurrence, per
officer, or agent involved.

Violation ot’Rights: 2,000,000, (lwo million) lawful US Silver Species. per occurrence per
ofl'tcer_ or agent involved This includes, but is not limited to rights on the enclosed
"ATTACHMENT ‘A’ ~ PROPERTY LIST."

Refusa| of Lawful Bailment as provided by tlte aforementioned Constitution1 Treaty of Peace and

Friendship and “Bili of R.ights" 2,000,000, (two million) lawful US Silver Species per day of

 

conlinement, to be prorated by the hour as per Traftcant vs. Flon'da‘ per occurrence per officer.
per agent involved

Coercion or Atternpted coercion ofthe Natural man to take responsibility for the Corporate

 

`;r Stra\tnnan against the Natural Man Secured Party’s Will: Z.l)l]tl,l)lll). (two million) lawful US
Silver Species per occurrence, per officer or agent involved
The placing of an Unlawful or improper Lien, Levy, lmpoundmenls. or Gamishtnent against any
funds, bank accounts, savings accounts, retirement funds, lnvesttrtcnt funds, social security fhnds,
intellectual property, or any other property belonging to the Natural man Secured Party by atty
agency: 2,000,000_ (two million) lawful Silver Species per occurrence, and lt}tJ,tltlt_l_ tone hundred
thousand) lawful US Silver Species per day penalty until liens, levies, ilnpoundments, and l or
garnishments are ended and all funds reimbursed and all property returned in the same condition
as it was when take, with 18% interest upott the Secured Party`s declared value of property
Destmctive, Deprivation, Concealment. Dcfacing, AlteratiorL or Theft, of Property, including
buildings structures, equipment, fumiture, lixtures, and supplies belonging to the Natural man
Secured Party will incur a penalty oftolal, new replacernent, costs of property as indicated by
Owner and Secured I’arly. including but not limited to purchase price and labor costs for locating,

purchasing. packaging sh ipping, ltandling, transportation, delivery. set up, asseinbly, installation,

 

llPS and r€€S, Pe"mlls~ rl?t‘llacernent ofcomputer information and data, computed hardware and
software_ computer supplies, office equipment and supplies. or any other legitimate fees and costs
associated with total replacement ofttew items ofthe same type. likc` kind, and f or quality, and
quantity as affected items T"he list and description of affected property will be provided by the
Holdet‘l Holder in due course f Secured Party and will be accepted as complete, accurate, and
uncontesta]:lle by the agency or representative thereof that caused such action. [tt addition to the
aforementioned cost, there will be a ZU0,0UO. (two hundred thousand) lawful US Silver Species
per day penalty until property is restored in full, beginning on the first clay after the incident, as

provided by this contract

CAVEA'!‘

PageGole

ease 3:19-bl<-01965-CPI\/l Dci`c 1 Filéd‘Oé/oé/la P'age 43 of 64

 

ft

t
: r'\>~
/ y /'

`42'2,5 ;;1

 

 

't">-FlL `L¥lnTlcda'lfe M)ol<-moes-CPM Doc 1 Fil§d%dideno Page 44 of 64

lG. The aforementioned charges are billing costs deriving front but ttot limited to, the Uniform
Commercial Codes and Fair Debt Collectiott Practices Act and this contract These charges shall
be assessed against persons, governmental bodies, and corporate entities supra, or any
combination thereof when they individually and,'l or collectively violate my natural and f or civil
rights as an Aboriginal American by declaration The aforementioned Constitution for the united
States of America - Republic, Treaty of Peaee and Friendship and the “Bill of Rights" establishes
jurisdiction for you in your normal course ofbusiness. A|l violations against me, the Undersigned_
will be assessed per occurrence, per othcer, representative, or agent ofany agency that is involved
in any unlawful action against mc.

l't‘. By your actions, you shall lack recourse for all claims ofimmunity in atty forum Your ofticers'
knowing consent and admission of perpetrating known acts by your continued enterprise is a
violation of un-a-lie'o-a-ble rights 'l'ltis Statute Staple Secutities instrument exhausts all state
maritime Article l administrative jurisdictions and protects my Artic|e lll court remedies
includingl but not limited to, Title 42 USC, 'l`itle 18 USC, Title 28 and Title 18 USCS 241, 242...
etcetera,

ICN()RANCE OF THE LAW IS NO EXCUSE!!!

l£l. I. one :menu-ra-khuti-amen:bey, Free rnan, the Undersigned, and the principal.' and you are the
agent! Fail not to adhere to your oath, lest you be called to answer for your ecclesiastical dishonor
and before one Supreme Coutt Excluslve Original lurisdiction, which is tlte court of first and last
resort not excluding my “Good Faith (Oxford) Doctritte" by my conclusive Honorable “Bi|| of
Rights."

19v This Statue Slaple Securities instrument is not set forth to threaten, delay, hinder, harass, or
obstmct, but to protect guaranteed Rig|tts and Protections assuring that at no time ttty Utta|ienable
Rights are ever waived or taken front nte against my will by threats, duress, coerciort, fraud or
with the voidancc of my complete expression in furtherance of consent of waiver. Notte of the
statements contained herein intend to threaten or cause any type of physical or other harm to
anyone The statements contained herein are to notice atty persons whether real or CORPORATE,
oftheir potential, personal, civil, and criminal liability ifand when they violate tny Unalienable
Rights as protected by ttte original Constitution fTreaty of Peace and friendship of 1787, adopted
circa l'l'9l (Constitution), and f or the Honoral)le "Bill of Rjghts" . A bona fide duplicate of tltis
paperwork is safely archived with those who testify under oath that it is my standard policy to
ALWAYS present this notice to any public or private officer attempting to violate me and my
rights lt is noted on tlte record that by implication ofsaid presentment, this Notice has been
tendered by way ofcertii'ted mail to FLORlDA SECRETARY OF STATE KEN DE'I`ZNER_ This

is prima facie evidence ofyour receipt and acceptance of this presentment in botlt your

 

Page 7 of 12

 

 

 

 

ease 3:19-bt<-01965-CPI\/l Do'e'l titled oates/19 -P‘age 45 of 64

 

§

r

\\
il _
)\

 

'.P-Fl’_ lJ-t¢'il"ilvel@is'e §.'QJ-i>t<-ol%s-CPM Doc 1 Filedddaideile Page 46 of 64

CORPORATE and individual capacity,jointly and severally for each and all govemntetttal.
political, and corporate bodics. Any other individuals who have been, are, or hereafter become

involved in the instant actions or any future actions against me shall only correspond to me in

 

writing while signing under penalty of perjury pursuant but ttot limited to Title 28 USC 1248. ’f`|tis
document is now on record in the CLF.RK UF THE CUURT office at HILLSBOROUGH

COUNTY, FLORlDA, supra.

 

SUMMATION

 

204 Sltould you move against roe in defiance of this presetttirttent, there is no itr\tttuttity nom
prosecution available to you or to any of your fellow public ofl'tcers, officials, officials of
govemment_ judges, magistrates district attorneys clerks. or any other persons who become
involved in the instant actions, or any fnntre actions, against mc by way ofaiding and abetting
Takc due heed and govern yourselfaccordingly. Any or all documents tendered to mc, lacking
bona tide wet ink signatures or dates per title |R U.S.C 5l 3-5l4, are counterfeit security
instruments causing you to be liable in your CORPORATE and individual capacity by fraudulent
conveyance now and forevermore. lf and when you cause any injury and/or damages to the
Natural man Secured Pany by violating atty ofthe rights, civil rights, privileges, or any terms
lterein, you agree to voluntarily, with tlte voidance ofreservation ofrigltts and defenses, at the
written request of the Natural mart Secttred Pany, surrender, including but ttot limited to, any and
all bonds, public and f or corporate insurance policies, and CAFR funds as needed to satisfy any
and all claims as filed against you by the Nalnral man Secured Party. This applies to atty and all
agents, or representatives individually and severally, oftlte "UN|TED STATES" or any ofthe
subdivisions thereof, as described hereitt.

NOTICE TO AGE.NT IS NOTICE TO PRINCIPAL AND NOTICE TO l-‘RfNClPLE lS NO'l"lCE TO

AGENT

21. This document cannot be retracted by any etrtployee. agent representative or ofl`tcer ofthe court
or any individuals excluding the Natural man Secured Party on this registered document for one
hundred years frotn the date on this legally binding Statute Staple Securities instrument
Altention; All Agents, Representatives, Oi'ftcers, and l or suc|L ofthe “UN|TED STATES" or its
subdivisions including local, state, federal, and f or international or tnu|tinatiottal govemntenls,
corporations, agencies and the like: You have thirty (30) days to rebut any portion oftltis portion
ofthis document or you stand itt total agreement Non-response is agreement Partiai response is
agreement Rebttltal trtust be in written form with legal and lawful. verified, certified

documentation in law, with copies of said law enclosed. 'I'his documentation must be provided

PageEole

ease 3:19-bt<-01965-CPI\/l D'd’c‘ "1 Filédoa/o‘a/l§ 1"Fi‘age 47 of 64

 

 

 

 

 

 

PFR le;» Ll§l<basé§dQ-bt<-01965-CPM Doc 1 Filed §§tiéila Page 46 of 64

22.

23.

under penalty ofpetjury. Notice to Agent is Notice to Principa|. Notice to Principal is Notice to

Agent, lgnorance ofthe law is no excuses

All other corporations including but not limited to telephone cotrtpatties, cable corttpatties, utility
eornpanies, conlractors, builders. maintenance personnel investors, jounteynten, inspectors, law
enforcement offtcers, officers ofthe court, mannfacturers, wholesalers, retailers, and all others,
including all persons, are bound by all paragraphs terms, and conditions, herein regardless of
nature oflirnited liability corporations or affiliations as “D.iB/A’s," “A‘K.A.s," incorporations, or
any types of businesses in commerce as deeded by this securities agreement and decree

YOU ARE NOTICED having been given knowledge ofthe law and your personal financial
liability in event ofany violations of my rights and t or being 'fltis Statue Stap|e Securities
lnstmtnent now iit your hand constitutes timely and sufficient wanting by good faith, notice, and

grace

24. Date this day of October_ in the year of ALLAH, two thousand seventeen This

25.

26.

contract being of honor is presented uttder tlte “Good Faith (Oxl`ord) Doclrine"` l accept the Oatlt
ofOflir;e of all officers ofthe coun, including but riot limited to the clerk oftlte coin't; a|ljudges
and attorneys from all jurisdictiotts; all local, state, federal, intematiottal law enforcement oflicers,
and all agents of the “UNlTED STATES" or any of its subdivisions tltereof.

Any agent, law enforcement oflicer_ employee, conlractor. represetttative, or the like ofthe
"U'NlTED STATES” or any ofits subsidiaries or snb-corporations SHALL NOT ENTER. A'l`
ANY 'l`fME, FOR ANY REASON, ANY PR()PERTY A'f WHlle lAM LOCATED. OR
LEASE. OWN_ OR CONTROL, WITH THE VOIDANCF. OF MY EXPRESS WRITI`EN
PERM|SSON. Violation ofthis notice will be considered criminal trespass and Will be subject to a
2,000‘000. (two million) lawful US Silver Species penalty plus damages, per violation, per
violator

Altention: Any and all lending lnstitntions. brokerage firnts, credit ttttions, depository institutions
insurance agencies, credit buteaus, and the officers, agents and employees therein: You have now
been notified ofthe law as to your CORPORA'\`E and individual financial liability itt the event of
atty violations upon tlte rights and l or being of :ra-nu~ra-khuti-atnen:bey. This Statute Staple
Secun`ties instrument constitutes timely and sufficient wanting by Good Faitlt Notice of your
liability regardless ofyour political allirmations. All penalties contained herein will be subject to a
penalty increase ofl,i)t]tl,t]t]l]. (one million) lawful US Silver Dollars per day, pitts interest, while
there is any unpaid balance for the first thirty (3[)) days after default of paytnent. This penalty will
increase by IU% per each day until balance is paid in full_ plus 18% annual interest, beginning on
the thirty- first t?t l") day after default ofpayrnent. All penalties itt this document are assessed in

lawful money and arc to be paid in otte troy ounce US Silver Dollars that are .999 Ene Silver or

Page 9 of i2

ease 8:19-bt<-01965-C.13|\/l \»“l'r'ioc\-l" 'lFiléd'oS/Osi'té Page 49 of 64

law =t:'.tt’r:t '.'L$`J",’.-

 

\‘

7

`/1

- t . , dial l
- ppg mtl,tbae(eBJtQ-bt<-ol%s-CPM Docl Filedhos/ds/la Page 500r64

equivalent par value ifpaid in legal tender or fiat paper money. Par value will be determined by
the value established by a one troy ounce.999 line Silver coin at the US MINT, or by law,
whichever is higher value at tlte time ofthe incident Any dispute over the par value will be
decided by tlte Secured Party, or his designee.

- Del'tnitions; All definitions in the attached Statute Staple securities instrument “L.egal Notice and
Demand Def'initions" are included as a part ofthis contract .' agreement and will he applied
as written herein. Any dispute of any definition will be decided by the Secured Farty, There is no
contradiction ofternts as written within lite confines of this title pursuant to the “Constitutiolt for
the united States ofAlnerica - Republic, Treaty of Pcacc and Friendship of 1787". [l` atty
contradiction t's found1 the meaning will be determined by the Secured Party. Delinitions as they
apply to this contract are enclosed in the Statute Staple Securities instrument “Legal Notice and
Demand Definilinns” and are included as a legal part oftltis contract.

All collateral, properly, and rights described generally herein or specifically on the enclosed
"A'i"I`ACHMENT ‘A’ - PROPER'TY" referencing DEB'TORZ BERTRAM ANDREWS-
POWLEY,I||© and Secured Party Creditor. ;ra-nu-ra-khuti»atnen:bey, are incorporated herein as
iffully set forth within this Statute Staple Securities fnstrument.

This non-negotiable and non-transferable SECURUTY AGREEMENT is made and entered into this day

Oclober , 2017, by and between BERTRAM ANDREWS-POWLEY,HI©, hereinafter
"DEBT()R", Ctrganization Nutttber 589-44-827|, 5594-482?|, 589448271, and ra-rtu-ra-klinti-atnen!bey,

hereinalier “Sccured Pa!ty Creditor", a Moorf lpso .lure as Moorish- iects Citizenship Expatriation Act
page 439 Chapter 4 Tentporary Provisions Morocco. The parties, l `:?rties”, are identified as

follows: Co / c
0
/",é ’q,/

:ra-nu-ra-khuti-amen:bey,

Secured Party Creditor

Authorized Representative,

Natut'al Man, fn Propria Persotla,

Ex-Relatione BERTRAM A.NDREWS-POWLEY,![I,
All Rights Rescrved UCC 1-207 f l~fitlBr' l-lf}3

with the voidauce ofprejudice

Date

 

 

.§ -Remainder ol` page left blank with the intention of the Secured Party Creditor-

 

Pagelf}ol'12

 

 

ease 8:19-bt<-01965-c;Pl\/t._:. .‘r)og;‘;tt~1 'F;il@_gi 0,§/§3/,19 Page 51 of 64

`._/ t, "-_;~\.‘.\. -

 

' PF|Z, L\<,l~lBC'bseéB€Q)bt<-olees-CPM Docl Filed c&/To§fie

 

NOTlCE 'l`O HILLSBOROUGII COUNTY PAT FRANI(, CLERK

27. Pursuant to Title iii U.S,C. chapter lUl section ZUTItb]. Wlloever, having the custody ofany such
record, proceeding map, book, docutnent, paper, or other thing, willfully and unlawfully conceals,
removes, mutilates, obliterates, falsifies, or destroys lhe same, shall be fined under this Title or
imprisoned not more than three years_ or both; and shall forfeit his othce and shall be disqualified
from holding any oflice under the United States."

Ce
C "`"/ '
0 cf pay

:ra-nu-ra-lrhuti-arnen:bey,

Secured Party Creditor

Autltorized Representative,

Natttral Man, In Propria Persona,

Ex-Re!atione BERTRAM ANDREWS-POWLEY,IH,
All Rights Rescrvcd UCC 1-207/ 1~308/ l-lt]}

with the voidance of prejudice

 

 

 

 

 

 

AC KNOWLEDGMENT l NOTAR Y
Near Hillsborough County
Near ~Florida-Repub|ic
united states ofA.lnerica
original jurisdiction
The above affiant, in physical presence ofmyself, or proven upon my satisfaction on the basis of evidence,
is in Fat:t the ONE whose address (appellation) and autograph subscribes the written instrument Aftiant
swears under the pains and penalties of perjury that all Staternetlts made herein are true, correct. certailt, and
with the voidance of deception
Duly given subscliption and sworn on this l_ day of October, 2017.
(seal)

X
Notary Public

 

 

Page ll ole

 

Page 52 of 64

ease 3:19-bt<-01965-CPI\/l Doc 1“" 'Fii‘éd`éa/o`e/le F'>age 53 of 64

1' 1 ?L':::g*_i l
(,
,\
l
l t
5

 

 

 

 

 

 

` " § ; _ - 1965-opm Docl Filed '/0819 Page540f64
grewdadeeak)> O§Ui'

We, the undersigned witnesses, do hereby swear or allinn that ;ra'nu-ra-khnti-amen: bey has stated to us
that it is his policy to present this “Statutc Staple lnstrument f LEGAL NOTICE AND DEMAND” to all
law enforcement ol`|'tcers, agents, or representatives of the "UNITED S'l`ATES" anytime that he has any

interaction with ihern.

 

First Witness p °nt E milo ~
,l\ A *'_

First Witness Signature on I)u Gtic

Second Witne_\u Prinl

 

Second W'ttness Signalure Non Domestic
c."o
'I`hird Witness Printl Date Mail Location
l l
’I`hirtl Witness Signature Non Domestic

Notice to the Agent is Notice to the Principal f Notice to the Principal is notice to the Agent.

Page lZole

ease 3:19-bk-01955-CPl\/`l' i')'r>""c 1 rtle 03768/19 Page 55 of 54

 

 

l¥£ L\d§sl BIQ'lEI<-GQSCPM Doc 1 Filed 03/08/19 Page 55 of@d?,?( l

 

Treaty of Peace & Friendship
r.a»%`<b -~ 1787
Between Morocco and The United States

TO ALL F='ERSONS TO WHOM THESE PRESENTS St-tAl_l_ come OR BE MADE KNOWN-
WHEREAS THE UNlTED STATES OF AMER!<:A IN CONGRESS ASSEMBLED Bv THEth
COMM]SSION BEAR!NG DATE THE TWELFTH DAY OF MAV ONE THOUSAND, SE\/EN»
HUNDRED AND ElGHTY~FOUR THOuGHT PROPER To cONSTlTuTE JOHN ADAMS, BEN-
JAMJN FRANKL.iN AND THOMAS _JEFFERSON THE:R MtNtSTERS PLEN!POTENTIARY,
GterG re THEM OR A MA.JOR|W oF THEM FULL POWERS TO cONFE:R, TREAT 8c NEGO-
TiATE W\TH THE AMBASSADOR, MtNtSTER OR COMMlSStoNER OF l-IlS MA.JESTY THE
EMPEROR C)F MOROCCO CONCERNING A TREATY OF AM:TY AND COMMERCE, TO
MAKE 8< RECEIVE PROPOS:T\ONS FOR SUCH TREATY AND TO CONCLL)DE AND StGN
THE SAME, TRANSM;TT|NG TO THE UNlTED STATES tN CONGRESS ASSEMBLED FOR
THElR FINAL RATIFICAT|ON.

 

AND BY ONE OTHER COMMISSK)N BEARlNG DATE THE ELEVENTH DAY OF MARCH
ONE-THOUSAND SEVEN-HUNDRED 8c EtGHTY-FNE DID FLJRTHER EMPOWER THE SAtD
MtNlSTERS PLEN|POTENT|ARY OR A MA.JOR!TY OF THEM, BY WR:TING UNDER THE
HANDS AND SEAI_S TO APPOINT SUCH AGENT IN THE SAtD BuStNESS AS THEY MtGHT
THINK PROPER WITH AUTHOR!TY UNDER THE DlRECTlONS AND tNSTRUCTtON Or-' THE
SAtD MENISTERS TO cOMMENCE 8c PROSECUTE THE SAtD NEGOTIAT|ONS 8c CONFER-
Eth-:S FOR THE SAlD TREATY PROerl-:D THAT THE SA|D TREATY SHOL;LD BE StGNED
BY MtNtSTERS: AND WHEREAS. WE THE SAID JOHN ADAMS 8c THOMAS JEFFERSON
TWO OF THE SAID MlNlSTt-:RS PLENtPOrENTlARY (THE SALD BENJAM!N FRANKLIN BE-
JNG ABSENT) BY WR!TING UNDER THE HAND AND SEAL OF THE SAtD JOHN ADAMS AT
L.ONDON, OCTOBER FIFTH, ONE~THOUSAND SEVEN-HUNDRED AND E\G'.-t’r'y-Ft\/E, &
OF THE SA\D THOMAS JEFFERSON AT F’ARIS OCTOBER THE Et_E\/ENTH OF THE SAME
YEAR, DlD AF=PO|NT THOMAS BARCLAY, AGENT IN THE BUSlNESS AFORESAID, GtVING
HtM THE POWERS THERErN. WHICH BY THE SAJD SECOND cOMMISSiON WE WERE AU~
THOR\zED GO Gl\/E, AND THE SAID THOMAS ESARCL.AY lN PURSLJANCE THEREOF, BATH
ARRANGED ART{<:LES FOR A TREATY OF AM|TY AND COMMERCE BETWEEN THE
UNlTED STATES OF AMERICA AND HIS MAJESTY THE EMPEROR C)F MOROCCO &
SEAI_ED WITH Hts ROYAL SEAL. BEING TRANSI_ATED INTO THE L.ANGUAGE OF SAID
UN|TED STATES OF AMERch, TOGETHER WlTH THE ATTESTATIONS THERETO AN~
NEXED ARE IN THE FOLt_OW\NG WORDS, TO er:

lN THE NAME OF ALM|GHTY GOD.

THlS IS A TREATY OF-" PEACE AND FRIENDSHIP ESTABL!SHED BETWEEN US AND
THE UNlTED STATES OF AMERICA, WHICH 15 cONFIRMED, AND WH|CH WE HAVE OR-
DERED TO BE WRtrTEN IN THE BOOK AND SEALED WiTt-l OUR ROYAL SEAL AT OUR
COURT OF MOROCCO IN THE TWENTY~FIFTH DAY OF THE BLESSED MONTH OF SHA-

PFE LUS`§;HEK-QQJCPM Docl Filed 03/08/19 Page 578{¢§4’}[

_~~; BAN. lN THE YEAR ONE'THOUSAND TWO-HUNDRED, TRUSTING IN GOD |T WlbL RE|VlAll‘\|
PERMANENT.

ARTICLE l
,V \'Vc dcclarc that both Partics have agreed that this Trcaty consisting of twenty live Articlcs shall bc in-
g l sorted in this Bool-; and delivered to the Honorablc Thomas Barclay, the Agcnt of the United States now
\_~_ j '»_.`_‘ itt our Court, oath \-vhosc Approbation lt has been made and Who is duly authorized on their part, to treat
' ' 1 1 with us concerning all the matters contained therein.

n ARTICLE 2
ll`citl'tcr of thc parties shall bc at \t-':-tr oith any nation whatcycr, thc other party shall not take a commission
z from thc enemy nor fight under their colors.

 

ARTICLE 3
ll either of the parties shall bc at war with any nation whatever and take a prize belon,_fg`tng,r to that nation,
_\ and there shall be found on board subjects or effects belonging to either of the parties, the subjects shall bc
ifj set at liberty and the effect returned to the o\mcrs. And if any goods belonging to any nation, with whom
\'~{t either thc parties shall bc at war, shall bc loaded on vessels belonging to the other party, they shall pass free
and tmmolcst.cd without any attempt being made to take or detain thcni.

 

 

» ARTICLE 4
A signal or pass shall be given to all vessels belonging to both parties, by which they arc to bc known when
_ they meet at sea, and if the c<)nnnander of a ship of war of either party shall have other ships under his
z " _ con\’oy, the Dccl:»u'ation of the commander shall alone bc sufficient to exempt any of them front examina-
tton.

l ARTICLE 5

j`i lf either of thc parties shall bc at qu‘, and shall meet a vessel at sca, belonging to thc othcr, it is agreed that
: if zut examination is to bc madc, it shall bc done by sending tt boat with two or three men only, and if any

" gun shall be bread and injury done without reason, thc offending party shall make good all d'¢unag‘cs.

 

AR'I`ICLE 6
lf any Moor shall bring citizens of the United States or dieir ellects to His l\*‘lajcsty, the citizens shall imme-
` dizttcly he set at liberty and thc effects restorcd, and in like manncr, if any Moor not a subject of thc do-
minions shall make prize of any of thc citizens of America or their effects and bringr them into any of thc
` ports of His t\'lajcsty, they shall be immediately rclcascd, as they will be considered as under His l\'l;t_jcsty’s
Prot.cctlon.

ARTICLE 7
l l` any vessel of either party shall put into a port of thc other and have occasion for provisions or other sup-
plics. they shall bc furnished without any interruption or lnolcstzttion.

ARTICLE 8
ll any vessel of thc United States shall meet with a disaster at sca and put into one of our ports to rcpairs,
she shall be at liberty to land and rcload her cargo, without paying any duty whatcvcr.

_ ARTICLE 9

lf any Vcsscl of the l,lritietl States shall be cast on Shor; on any Part of our Cr_)asts:~i she shall remain at the
disposition of thc O\mcrs and no one shall attempt going near her without their Approbation. as she is
then considered particularlyr under our Protcction; and il`any Vcsscl of the United States shall bc forced to
pitt in to our Ports, by Strcss of weather or othctyn`sc` she shall not bc compelled to land her C;n‘g‘o. but
shall rcmain in tranquility until thc Connnandcr shall think proper to proceed on his Voyagc.

 

PFR Mlbi<lmsé£dm Doc 1 Filed 03/08/19 Page sséi'§¢t';tl

   
 
 
 
    
  
   
 
  
    
    
  
   
 
  
 
 
 
 
 
 
 
 
 
   
 
   
 
 
 

ARTICLE 10
`_ If any Vessel of either of the Parties shall have an engagement with a Vessel belonging to any of the Chris-
tian Powers within gunshot of the Forts of the other, the Vessel so engaged shall be defended and pro-
tected as much as possible until she is in safety', and if any American Vessel shall be cast on shore on the
Coast of VVadnoon or any Coast thereabout, the People to her shall be protected, and assisted until by
the help of God, they shall be sent to their Country.

`f ARTICLE 11

If we shall be at VVar with any Christian Power and any of our Vessels sail from the Ports of the United
States, no Vessel belonging to the enemy shall follow until twenty four hours after the Departure of our
Vessels; and the same Regulation shall be observed towards the American Vessels sailing from our Ports-
be the enemies Moors or Christ:ians.

______§._.__s__ ARTICLE12

` If any ship of war belonging to the United States shall put into any of our pol`ts, she shall not be examined
on any pretense whatever, even though she should have fugitive slaves on boau‘d, nor shall the governor or
commander of the place compel them to be brought on shore on any pretext, nor require any payment
for them.

't;i;

t ARTICLE 13

If a ship of war of either party shall put into a port of the other and salute, it shall be returned from the
fort with an equal number of guns, not with more or less.

,.` ARTICLE 14

- The commerce with the United States shall be on the same footing as is the commerce with Spain, or as
that with the most favored nation for the time being; and their citizens shall be respected and esteemed,
and have full liberty to pass and repass our country and seaports whenever they please, without interrup~
tit)rr.

ARTICLE 15

1 Merchants of both countries shall employ only such interpreters, and such other persons to assist them in
_ their business, as they shall think proper. No commander of a vessel shall transport his cargo on board
' another vessel; he shall not be detained in port longer than he may think proper; and all persons ern-
i ployed in loading or unloading goods, or in any labor whatever, shall be paid at the customary rates, not
more and not less.

 

ARTICI..E 16

ln case of a war between the parties, the prisoners are not to be made slaves, but to be exchanged one for

another, captain for captain, officer for officer, and one private man for another‘, and if there shall prove a
deficiency on either side, it shall be made up by the payment of one hundred Mexican dollars for each

§1 person wanting And it is agreed that all prisoners shall be exchanged in twelve months from the time of

1 "' their being taken, and that this exchange may be effected by a merchant or any other person authorized of
_ by either of the parties.

f ARiicLE 17
l\lercharits shall not be compelled to buy or sell any kind of goods but such as they shall think proper;
§ and may buy and sell all sorts of merchandize but such as are prohibited to the other Christ:ian nations

§ ARTICLE 18

All goods shall be weighed and examined before they are sent on board , and to avoid all detention of
_ vessels, no examination shall afterwards be made, unless it shall first be proved that contraband goods
r..r' have been sent on board, in which case, the persons who took the contraband goods on board, shall be

 

t _ _j l)FB %l%§-lolK-Olétiggpl\/| DOC 1 Filed 03/08/19 Page 59 of 63 E;L l

j punished according to the usage and custom of the coiintry. and no other person whatever shall be in-
-. _inrcd, nor shall the ship or cargo incur any penalty or damage \-yhate\-'er.

ARTICLE 19

‘-.\"o vessel shall be detained import on any pretense whatever, nor be obliged to take on board on any arti-
_ cles without the consent of the e.<_)intnander, who shall be at full liberty to agree for the freight of any goods
he takes on board.

ARTICLE 20
1 If any of the citizens of the L'ntied States, or any persons under their protection. shall have any disputes
§§ with each other, the consul shall decide between the parties, and Wheneyer the consul shall require any aid
or assistance from our governtnent, to enforce his decisions, it shall be immediately granted to hiin.

 

§ ARTICLE 21
§§ lf any citizen of the l_inticd States shoi_il(l kill or Wonnd a Moor, or. on the contrat“y, if a Moor shall kill or
,_ __ j wound a citizen of the l_.'nited States. the law of the country shall take place, and equal justice shall be ren-
jt ;`j'.i dcred, the consul assisting at the trial‘, and if any delinquent shall make his escape, the consul shall not be
1 ' 1 answerable for him in any manner Whate\'er.

 

 

~ ARTICLE 22
` j lf an Anierican citizen shall die in our connny, and no nill shall appear, the consul shall take possession of
j.` ii hi affects: and if there shall be no consul, the effects shall be deposited in the hands of some person wor-
' l t thy of triist._ until the party shall appear, who has right to demand them; but if the heir to the person de-
'~ ceased be present., the property shall be delivered to him without intermptions; and if a will shall appear.
the property shall descend agreeable to that still as soon as the consul shall declare the validity thereof.

` ARTICLE 23

The consuls of the L' nith States of America, shall reside in any port of our doininions that they shall
think proper; and they shall be respected, and enjoy all the privileges which the consuls of any other na-
tion enioy; and if any of the citizens of the United States shall contract any debts or engagements, the con-
sul shall not be in any manner accountable for them, unless he shall have given a promise in writing for the
payment or fulfilling thereof, without which promise in \-\i‘iting, no application to him for any redress shall
be inade.

   

 

 

ARTICLE 24

If any differences shall arise by either party inl‘“ringin,r,r on any of the articles of this treaty1 peace and har-
__ mony shall remain notmvithstanding, in the fullest l`ot'ce, until a friendly application shall be made for an
§ "_'; arrangetnent, and until that application shall be rejected, no appeal shall be made to arnis. And if a \-\-"ai'
j ' shall break ont between thc parties nine months shall be granted to all the subjects of both parties, to dis-
pose of their effects and retire with their property. And it is further declared, that n'hateyer indulgences` in
trade or othervnse, shall be granted to any of the Christian Powers, the citizens of the l,' nith States shall
be equally entitled to thein.

ARTICLE 25

Tl'lis treaty shall continue in full forc.e, with the help of God. for fifty yeal's. VVe delivered this book into
the hands of the before mentioned Thoinas Barcla.y, on the first day of the blessed month of Ran'iadan, in
the year one thousand two hundred.

 

l certify that the annexed is a true copy of the translation made by lsaac Cardoza Nttnez, interpreter at
l\"lorocco, of the treaty between the Etnperor of i\-"lorocco and the United States of Atncrica.

THOMAS BARCLAY.

lpg %Jeasl‘El<-<éQQ-QPM Doc 1 Filed 03/03/19 Page 60 el 341 f

 

 

_~_ ADDrrIoNAL ARTICLE

 

~` Grace to the only God.

I, the under-written, the servant of God, Taher Ben Abdelkack Fennish, do certify, that His Irn-
perial Majesty, my master, (W}iom Godpresewe), having concluded a treaty of peace and commerce
With the United States of Americ.a, has ordered me, the better to complete, it, and in addition of the
tenth article of the treaty, to declare, “Tbat if any vessel belonging to the United States, shall be in any of
the ports of his Majesty’s dominions, or within gun-shot of his forts, she shall be protected as much as
possible; and no vessel tvhatever, belonging either to Moorish or Christian Powers, With whom the
United States maybe at war, shall be permitted to follow or engage her, as We now deem the Citizens of
America our good friends.”

 

 

And, in obedience to this Majesty"s commands, I certify this declaration, by putting my hand and
seal to it, on the eighteenth day of Ramadan, (a) in the year one thousand two hundred.
The servant of the King, my master, whom God preserve

TAHER BEN ABDELKACK FENNISH.

I do certify that the above is a true copy of the translation made at Morocco, by Isaac Cordoza
Nnnez, interpreter, of a declaration made and signed by Sidi Hage Taher Fennish, in addition to the
treaty between the Emperor of Morocco and the United States of America, Which declaration the said
Taher Fennish made by the express directions of his Majesty.

THOMAS BARCLAY.

l
l
ti
°i
t
\
t
t

_j TREATY WIIH MOROCCO. 1787

Now, KNOVV YE, That tve, the said John Adanis and Thomas \Ielferson, Ministers Plenipotentiaiy

_j aforesaid, do approve and conclude the said treaty, and every article and clause therein contained, reserv-
l ing the same nevertheless to the Untied States in Congi`ess assembled, for their final ratification

In testimony whereof, we have signed the same with our names and seals, at the places of our respective

' residence1 and at the dates expressed under our signatures respectively

]OIM ADAMS, (L.S.l
L()Hdou, farr tta.tj-' Zj'f/J, 1787.

THOMAS _]'EFFERSON, (L.S.l
Pan's,_]anna,t}-' lsr, 1767

 

* 3 Zdrl

1933 - LEG|SLAT|VE JOURNAL - HOUSE - PAGE 5759
RESOLUTION NO. 75

...._Mn.WlTKlN,. Mr. Speaker, l desire at this time to call up Reso|ution No. 75,
Piinter's No. 1034.

¢- - - eClerkasfollows:

ln the House of Representatives, April 17, 1933. Many sons and daughters of
that proud and handsome race which inspired the architecture of Northern Af-
rica and carried

into Spain the influence of its artistic temperaments have become citizens of
this Nation.

|n the City of Phi|adelphia there exists a Moorish-American Society made up of

 

Moors who have found here ihé'e`nd of their quest for a home and of the chil-
dren of those who joumeyed here from the plains of Morocco.

This Society has done much to bring about a thorough absorption by these
people of those principles which are necessary to make them good American
citizens These Moorish-Americans have since being here missed the use of
the titles and name annexations that were so familiar at home and which are
used in accordance with the doctrines of the religious faith to which they are ad-
herents therefore be it, Reso|ved That this House commands the Moorish-
American Society of Phi|adelphia for the efficient service it has rendered the
Nation in bringing about a speedy and thorough Americanization of these for-
mer Moors and that in accordance with the fullest n`ght of religious independ-
ence guaranteed every citizen we recognize also the right of these people to
use the name affixes E| or A|i or Bey or any other prefix or suffix to which they
have heretofore been accustomed to use or which they may hereafter acquire
the right to use_

On the question, Wi|l the House Adopt the resolution?

lt was Adopted May 4,1933

 

 

 

 

Page 62 of 64 9

PR M'§|eb’\+bk-%Qi:s|€a\/l Docl Filed 03/08/19

   

'l'
'.

' machining
Mlinhmhmhh§l”d~d$*_dhqhdhmm
g Dlvheuvr.\|lln¢§*c.¢onol§l.ll“'ll?l.mz.

'l¢h-'

mindsmindmm- AA222*l41;
lut¥md;mk¢idn.s¢dimz.clane!;?m

 

 

Case 8:19-bk-01965-CPI\/| Doc 1 Filed 03/08/19 Page 63 of § b
BERTRAM ANDREWS-POWLEY, III (DEBTOR IN POSSESION)

UNlTED STATES DISTRICT COURT

 

M]DDLE DISTRICT OF FLORlDA
OFFICE OF THE CLERK
Case Number:
RE: lnvoluntary Bankruptcy Case 303
Chapter 15

TABLE OF CONTENT
PETITION FOR RECOGNITION OF A FOREIGN PROCEEDING - Form 401
l. PFR exhibit ( 1) “employer identification number” - l page
PFR exhibit (2) “Financing Statement” »- 1 page
PFR exhibit (3) “lRS Form 56 with revocation affidavit” - 3 pages
PFR exhibit (4) “AHidavit” answer to number 8 -l page
PFR exhibit (5) “Hold Harmless and lndemnity agreement” _ 2 pages
PFR exhibit (6) “Non Negotiable Security Agreement” - l page
PFR exhibit (7) “ Commercial Security Agreement” ~ 4 pages
PFR exhibit (8) “ Legal Notice Demand and Fee Schedule” - 12 pages
PFR exhibit (9) “Treaty of Peace and Friendship 1787”- 5 pages
10 PFR exhibit (10) “Resolution No. 75” - l page
ll_ PFR exhibit (l l) “Identification of the Secured Party Creditor and Ens Legis” _ 1 page
PROOF OF CLAIM ~ Form 410
l. POC exhibit (2) “Original Issue Discount accounting worksheet” » l page
2_ POC exhibit (3) “Customer Property / Executor Letter” - ll pages
POC exhibit (4) “Customer Property / Default Judgment” - 3 pages
POC exhibit (5) “Customer Property / Summary Judgment” - 10 pages
POC exhibit (6) “Waiver of Tort / defendants” - 4 pages
POC exhibit (7) “Cieariield Doctn'ne” - 2 pages
7 POC exhibit (8) “CREDITORS LIST” - 1 page
NOTICE OF MORTGAGE PAYMENT CHANGE- Form 410- S
l_ NOM exhibit (l) “Escrow Statement” -» 10 pages
2_ NOM exhibit (2) “lnvoice” - l page
NOTICE oF ACCEPTANCE FOR VALUE - 1 page
NOTICE OF STATUS, STANDING AND CAPACITY - 2 pages
NOTICE OF REMEDY / RELIEF BY DISCHARGE AND RECOUPMENT - 3 pages
NOTICE OF WAIVER oF TORT _ 3 pages
BALLOT FOR ACCEPT[NG or REJECTING PLAN OF REORGANIZATION g FORM 314
PROMISSORY NOTE ~ l page

.~D.O<>.-\.<=\.M.J>s»!\>

9`."".4>.‘*"

1

          
               

.: mmhm mmom vav _.m~m momm

_.____ :_ __ ____,_

mmm_zbz OZ_¥O<I._. Qn_m_.._

m§.%§ ._u_ <n_z§
m>< <QEO._"_ z §§

n__Im

 

.m.§ 15 own ,mco;mc.m=__ cce u:meec _o"_

»mU___>mm_W .d_S..MOn__ U`
wmh_E_.m QW._._>__D

Eo~.. >»:

m_.\mo_._uo "><D >Em>_l_wn_ n_m._.uwmxm

  

no S.Q n._ v _ __ . n ____ 141

..>S-F.__<z>.:¢o_mn_ _ _ E§mz_ s .__<z s

z x s
mo.gem$m: .
mcentee v

 

E§E .>._.
Nrmmm .r__ _LO

n__<a mO<._.mOa wD
...__m~mm

 

 

 

__J-::rr

 

___1,,
w..w1

 
  

n 1 ,. , rick
m 4 wh _,_J..a_. ..\ _,.
f .. T w .u. . m ~ ..1_ ....»..
. U _ n x .,.». H_ nev W ,M ___
_ .. n ,_ x … §§
M_ n _:_ in _,1 SEE: §§ . _:B§_ _ GEE__ tea SE=_N=_ ._ ._
\_G§E=B§_. §§ o y _ . §§ __ . _ _ l

 

 

 

1 .1 .§1…1.3!$§1¢..=§1..1§{3\1~4....1..1..__. 1: ..

 

